Case 2:22-cv-00184-LCB-CWB Document 557-15 Filed 05/27/24 Page 1 of 109




              EXHIBIT 15
     Case 2:22-cv-00184-LCB-CWB Document 557-15 Filed 05/27/24 Page 2 of 109




                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF ALABAMA
                               NORTHERN DIVISION

BRIANNA BOE, et al.,                     )
                                         )
        Plaintiffs,                      )
                                         )
UNITED STATES OF AMERICA,                )
                                         )
        Intervenor Plaintiff,            )
                                         )
v.                                       ) Civil Action No. 2:22-cv-184-LCB
                                         )
HON. STEVE MARSHALL, in his              )
Official capacity as Attorney General,   )
of the State of Alabama, et al.,         )
                                         )
        Defendants.                      )

                             EXPERT REPORT OF
                          KRISTOPHER KALIEBE, M.D.
   Case 2:22-cv-00184-LCB-CWB Document 557-15 Filed 05/27/24 Page 3 of 109




                                                     TABLE OF CONTENTS

Table of Contents ............................................................................................................................ ii
Background and Qualifications....................................................................................................... 3
Summary of Main Points ................................................................................................................ 7
The Recent Rise in Transgender and Non-binary Identification Among Young People ............... 7
The Dangers of Proclaiming a False Scientific Consensus for How Best to Treat Gender
    Dysphoric Young People ....................................................................................................... 18
                A.       Best Practices for Scientific Dialogue ............................................................... 18
                B.       How Breakdowns in Scientific Dialogue Occur ................................................ 20
                C.       Historical Examples of Harmful Scientific “Consensus” and
                         Overtreatment .................................................................................................... 22
The Politicization of Gender Care and Suppression of Dissenting or Questioning Voices ......... 27
                A.       American Academy of Pediatrics ...................................................................... 29
                B.       American Academy of Child and Adolescent Psychiatry.................................. 32
                C.       American Psychological Association ................................................................ 36
                D.       American Psychiatric Association ..................................................................... 37
                E.       WPATH ............................................................................................................. 38
                F.       Endocrine Society .............................................................................................. 42
                G.       Medical Literature .............................................................................................. 43
How Advocacy Undermines Scientific Discussion at Medical Organizations ............................. 51
                A.       Psychotherapy .................................................................................................... 52
                B.       Autism ................................................................................................................ 58
                C.       Borderline Personality Disorder ........................................................................ 59
Conclusion .................................................................................................................................... 60
References ..................................................................................................................................... 63
Publications ................................................................................................................................... 83




                                                                              ii
  Case 2:22-cv-00184-LCB-CWB Document 557-15 Filed 05/27/24 Page 4 of 109




         1.      I am a medical doctor. I am trained in general psychiatry, child and adolescent psy-

chiatry, and forensic psychiatry. My professional background, experience, and publications are

detailed in my curriculum vitae, which is attached to this report.

         2.      I have been retained by counsel for Defendants in the above-captioned lawsuit to

provide an expert opinion concerning care of patients with gender dysphoria and the need for open,

scientific dialogue regarding how best to treat gender dysphoric youth. My opinion will be based

primarily on my own experience as a physician, psychiatrist, and associate professor, as well as

the relevant literature in this area. I have reviewed the expert reports of Dr. Armand Antommaria,

Dr. Daniel Shumer, Dr. Meredithe McNamara, Dr. Aron Janssen, and Dr. Morissa Ladinsky. I

have also reviewed the initial production of the Plaintiffs’ medical records in this case. I may wish

to supplement my opinions or the bases for them as new evidence comes to light or new research

is published.

         3.      Over the past four years, I have testified at trial and/or deposition in the following

cases:

              a. Civil Testimony, retained by the defense:

                     i. In the Interest of RW, LL, AP Minor Children January 28, 2020 Circuit

                        Court of the 13th judicial circuit, Juvenile Division, Judge Lisa Campbell,

                        Tampa FL

                     ii. August Dekker et al. v. Simone Marstiller et al., Case No. 4:22-cv-00325-

                        RH-MAF, U.S. District Court, Tallahassee FL, May 18, 2023

              b. Civil Testimony:

                     i. February 28, 2020, Jeffrey Spivey, petitioner/father and Teresa Spivey

                        N/K/A Teresa Cartwright, respondent/mother Case No.: 2016 DR0471’s,




                                                   1
Case 2:22-cv-00184-LCB-CWB Document 557-15 Filed 05/27/24 Page 5 of 109




                 Circuit Court of the 12th judicial circuit in and for Manatee County Florida.

                 Judge Kevin Bruning

      c. Civil Testimony, court appointed:

             i. Re: The Marriage of Robyn Cohen McCarthy and John McCarthy, Novem-

                 ber 1, 2019 11th Judicial Circuit, Family Division, Dade County, Judge Ja-

                 son Dimitris, Miami FL

      d. Criminal Testimony, retained by the defense:

             i. The State of Florida v. Bill Paul Marquardt, December 19, 2019 5th Judicial

                 Circuit, Sumner County, Florida, Judge William Hallman III, Bushnell

                 Florida

             ii. The State of Florida v. Bill Paul Marquardt, August 24, 2022 5th Judicial

                 Circuit, Sumner County, Florida, Judge Mary P. Hatcher Bushnell Florida

      e. Civil Depositions, retained by the defense:

             i. Z.M.L., a minor, through her parents and guardians, vs. D.R. Horton, Inc.,

                 a foreign corporation authorized to do business in Florida, United States

                 District Court, Middle Division of Florida, Tampa, May 6, 2021

             ii. The Estate of Jean Lindor, deceased minor, by and through the Personal

                 Representative of the Estate, James Lacroix and Nouse Andree Lacroix, in-

                 dividually, Plaintiffs, v. Bos Transport, LLC, a Florida Limited Liability

                 Company, and Orestes Zamora Fleites, individually, December 5th, 2022

            iii. August Dekker et al. v. Simone Marstiller et al., Case No. 4:22-cv-00325-

                 RH-MAF, U.S. District Court, Tallahassee FL, March 20, 2023




                                           2
  Case 2:22-cv-00184-LCB-CWB Document 557-15 Filed 05/27/24 Page 6 of 109




            f. Civil Depositions, retained by the plaintiff:

                      i. Carlton Collins, individually, and on behalf of his minor son, Connor Sam-

                         uel Collins v. David R. Wallace, Sr., M.D. Louisiana’s 14th judicial district,

                         Civil Suit: 2019 – 4128 – D, March 4th, 2022

            g. Criminal Deposition, retained by the defense:

                      i. State of Florida v. Justin Mitchell Pennell, 2020CF000159FAXWS, 6th Ju-

                         dicial Circuit of the State of Florida in and for Pasco County, March 11,

                         2022

       4.         I am over the age of 19, am qualified to give this declaration, and have actual

knowledge of the matters stated herein. If called to testify in this matter, I would testify truthfully

and based on my expert opinion. I am being compensated at a rate of $400 per hour. My compen-

sation does not depend on the outcome of this litigation, the opinions I express, or the testimony

that I provide.

                            BACKGROUND AND QUALIFICATIONS

       6.         I am an associate professor at the University of South Florida in Tampa Florida. I

was recently promoted to full professor, active July 1, 2023. I am Board Certified in Psychiatry,

Child and Adolescent Psychiatry, and Forensic Psychiatry. My clinical work has been primarily in

university-based clinics, Federally Qualified Health Centers, and juvenile corrections.

       7.         I was awarded my medical degree in 1999 and subsequently completed general

psychiatry, child and adolescent psychiatry, and forensic psychiatry training. This training includes

education in human biology, human sexuality, development, brain functioning, normal develop-

ment, and psychopathology. Gender dysphoria and gender dysphoria treatment were part of my

professional training.




                                                   3
  Case 2:22-cv-00184-LCB-CWB Document 557-15 Filed 05/27/24 Page 7 of 109




       8.      From 2005 to 2016, I was Assistant Professor at Louisiana State University Health

Science Center – New Orleans. I was the program director of the LSU Child Psychiatry Fellowship

for 2 years. Since 2016, I have been Associate Professor at the University of South Florida, where

my clinical roles mainly include working with juvenile corrections and supporting primary care

physicians through the Florida Medicaid Psychiatric Medication hotline. I also cover on call at

Tampa General Hospital and practice forensic psychiatry, working on both child and adult cases

in both criminal and civil court.

       9.      In addition, I work in two university-based training clinics. For my entire stay at

University of South Florida I have supervised a child and adolescent psychiatry clinic, and I re-

cently added an adult psychiatry resident clinic to my schedule.

       10.     As a supervising physician at the University of South Florida’s Silver Child Devel-

opment Center, my role is to function as a clinical supervisor and instructor. Child psychiatry

residents and general psychiatry residents serve as the primary patient evaluators and clinicians. I

also evaluate new patients directly and then see patients as needed. I oversee the residents’ work

product and function as the physician of record. In this clinic I evaluate and treat pediatric patients

with gender dysphoria. In addition to these direct clinical experiences, my duties at the Silver Child

Development Center include training residents regarding the treatment of patients, including those

with gender dysphoria.

       11.     Similarly, at the University of South Florida’s Outpatient Psychiatry Center, my

duties include supervising and instructing psychiatry residents. At this clinic as well, general psy-

chiatry residents serve as the primary patient evaluators and clinicians, and I evaluate new patients

directly and see them afterward as needed. I oversee the residents’ work product and function as




                                                  4
  Case 2:22-cv-00184-LCB-CWB Document 557-15 Filed 05/27/24 Page 8 of 109




the physician of record. As part of my role in this clinic, I evaluate and treat patients with gender

dysphoria.

       12.     Within the juvenile justice system, I also evaluate and treat patients with gender

dysphoria. And I have been consulted to provide a second opinion and coordinate care regarding

a patient with gender dysphoria in the Louisiana juvenile correctional system.

       13.     In addition to direct clinical care, I am routinely consulted by colleagues. For in-

stance, I have provided an opinion on whether a pediatric patient was competent to assent to the

administration of puberty blockers to enter on a path toward sex hormone treatment and potential

surgeries. I have also been consulted regarding psychotherapeutic approaches to young adult pa-

tients who detransitioned. And I have collaborated in the care of patients with gender dysphoria as

part of my work with the Florida Medicaid Psychiatric Hotline.

       14.     I have extensive teaching experience, including teaching medical students, general

psychiatry residents, child and adolescent psychiatry fellows, and forensic psychiatry fellows. I

have years of extensive positive feedback from medical students and psychiatrist residents.

       15.     I practice and support conventional medicine, and I have also strongly advocated

for the expansion of Federally Qualified Health Centers, along with improved collaboration of

mental health with primary care (Kaliebe 2016, Kaliebe 2017).

       16.     My support of, and attempts to improve conventional medicine, are balanced by a

healthy degree of caution. The history of medicine is filled with examples of the harms that can

come with unproven, unnecessary, aggressive, or counterproductive interventions. As such, I’ve

presented twice at the Preventing Overdiagnosis conference.

       17.     Another clinically relevant academic interest of mine is the tradeoffs and influence

of technology and mass media, especially on young people. (Kaliebe 2002, Gerwin 2018). I have




                                                 5
  Case 2:22-cv-00184-LCB-CWB Document 557-15 Filed 05/27/24 Page 9 of 109




long focused on how technology and the media intersect with society and culture, including the

impacts of social media, recent increases in tribalism, and the spread of misinformation. With Paul

Weigle, I co-edited the Child and Adolescent Psychiatric Clinics of North America Youth Internet

Habits and Mental Health edition in 2018. This compilation of clinical review articles included 16

chapters by invited experts on digital and mental health related issues. (Kaliebe 2018). I presented

on distraction and misinformation at the 2022 conference of the American Academy of Child and

Adolescent Psychiatry.

       18.     I am a member of the American Academy of Child and Adolescent Psychiatry, the

American Academy of Psychiatry, and the Law and the American Psychiatric Association. I have

been most active in the American Academy of Child and Adolescent Psychiatry (AACAP). I was

awarded status as a Distinguished Fellow at AACAP in 2016. I first presented regarding media at

the 2004 AACAP annual conference, and have now presented at the annual conference 25 times.

I served as co-chair of the Media Committee from 2013-2021, and was an author on the AACAP’s

clinical practice guidelines for telepsychiatry. I served as the Liaison from AACAP to the Ameri-

can Academy of Pediatrics from 2016-2022. I have also served AACAP in the state affiliates,

acting as the Louisiana Council for Child Psychiatry as secretary/treasurer for 4 years and as pres-

ident for 2 years.

       19.     I have extensive experience in psychotherapy, and have received additional training

in Cognitive Behavioral Therapy and trauma-focused therapies. I have been providing psychother-

apy and teaching psychotherapy to psychiatry trainees throughout my career. I currently routinely

supervise psychiatry residents at USF regarding psychotherapy. I created and taught a Cognitive

Behavioral Therapy practicum for LSU residents from 2007 to 2016. I was a member of the Asso-

ciation for Behavioral and Cognitive Therapies from 2004 to 2016.




                                                 6
 Case 2:22-cv-00184-LCB-CWB Document 557-15 Filed 05/27/24 Page 10 of 109




                                SUMMARY OF MAIN POINTS

       20.     While historical reports of gender dysphoria exist, they were rare until approxi-

mately the last decade. Since then, the number of youth suffering from gender dysphoria has sky-

rocketed across countries in the economically advanced Western world.

       21.     Significant evidence points to a spread of ideology combined with technologically

induced contagion effects associated with the recent increase in gender dysphoria.

       22.     Small numbers of advocate physicians within medical organizations have been able

to leverage moralized claims and low-quality evidence to promote medical interventions for gen-

der dysphoria in minors.

       23.     As American medical professional organizations have already endorsed the concept

of so-called affirmative care as evidence-based and ethical, they are no longer neutral with regard

to the science and have instead entered advocacy roles.

       24.     The language and assumptions supporting affirmative care for gender dysphoria are

often conjecture, opinion, or misinformation presented as established fact.

       25.     Due to the highly politicized and ideological nature of the issue of gender dyspho-

ria, and efforts by proponents to silence debate, there is limited rigorous scholarly dialogue within

American professional medical organizations and medical journals.

   THE RECENT RISE IN TRANSGENDER AND NON-BINARY IDENTIFICATION
                        AMONG YOUNG PEOPLE

       26.     The discussion regarding transgender care is in the context of an unexplained and

remarkable rise in minor patients reporting gender dysphoria. During my medical school experi-

ence and three residencies, I never encountered a patient reporting symptoms of gender dysphoria.

For eleven years, from 2005 to 2016, I had a busy psychiatry clinic composed of roughly 80%

minors and 20% adult patients. Not a single patient presented with gender dysphoria.



                                                 7
    Case 2:22-cv-00184-LCB-CWB Document 557-15 Filed 05/27/24 Page 11 of 109




         27.     During those eleven years, none of the hundreds of medical students or residents I

supervised presented cases to me describing patients with gender dysphoria. None of my social

work or psychologist colleagues ever asked for consultation or advice regarding how to clinically

approach patients with gender dysphoria.

         28.     By contrast, on a single day in the last year, I treated three adolescent patients who

had been diagnosed with gender dysphoria.

         29.     My experience is consistent with statistics indicating an abrupt rise in gender dys-

phoria and presentations to medical clinics for related services. While the exact number is un-

known, it can be said that the incidence of gender dysphoria in youth was previously rare. The

American       Psychiatric    Associa-

tion’s Diagnostic and Statistical

Manual of Mental Disorders pub-

lished in 2013 rated in adults at 2-

14 per 100,000 (American Psychi-

atric Association p. 454). Referrals

at the Tavistock clinic in England

increased over 50-fold in just a

decade    from     2009      to   2019.

(Tavistock & Portman, NAHS

Foundation Trust, 2020).1
                                                Chart 1. Child and adolescent refers for gender dyspho-
                                                ria in the United Kingdom


1
 Chart 1 was created by the Society for Evidence Based Gender Medicine drawn from data by the
Tavistock clinic in the United Kingdom. Chart 2is from Marianowicz-Szcygiel’s 2022 paper “Rise
of gender identity disorders among children and adolescents – data from 10 countries. Possible
explanations, conclusions for parents.”


                                                   8
 Case 2:22-cv-00184-LCB-CWB Document 557-15 Filed 05/27/24 Page 12 of 109




         30.   Similar increases have been reported across much of the Western world, many

showing over 1000% rise in gender dysphoria over the last decades (Marianowicz-Szczygiel

2022).




         31.   Never before has there been large cohorts of individuals seeking medical services

to alter their secondary sex characteristics. There had been decades of extremely rare treatment

which was at the time acknowledged as compassionate but experimental care. Yet the current pa-

tients expressing gender dysphoria represent primarily a new and distinct patient population, not a




                                                9
 Case 2:22-cv-00184-LCB-CWB Document 557-15 Filed 05/27/24 Page 13 of 109




population which has historically existed. As the independent review of the gender identity ser-

vices for children and young people in the UK noted, the sudden “increase in referrals has been

accompanied by a change in the case-mix from predominately birth-registered males presenting

with gender incongruence from an early age, to predominately birth-registered females presenting

with later onset of reported gender incongruence in early teen years.” (Cass 2022).

       32.     As a psychiatrist, I have encountered many patients who are uncomfortable with

their bodies. This discomfort or dissatisfaction is often comingled with anxiety and depression,

along with various diagnoses which involve bodily discomfort, including eating disorders or Body

Dysmorphic Disorder.

       33.     I have observed bodily discomfort more often in females, especially as girls enter

puberty, which is consistent with the epidemiological literature. Puberty introduces significant

challenges and risks to females as they receive more attention from males, including adult males,

along with increased competition from peers. Puberty now comes much younger than for our an-

cestors, creating a greater mismatch between brain and body maturity.

       34.     When a new patient population emerges, as it has with minors suffering from gen-

der dysphoria, it creates challenges for physicians to respond. This phenomenon requires some

explanation, and any complex phenomenon likely has a multifactorial line of causation. Yet mul-

tiple lines of evidence point to direct social influences and online and social media contagion as

major contributors to the remarkable rise in gender dysphoria in adolescents.

       35.     The influence of culture, medical theories, and ideology on symptom production is

long-standing and well known. Numerous examples of how culture has intersected with psychiat-

ric illness from the Victorian to modern era have been detailed in the literature (Shorter 1993). The




                                                 10
 Case 2:22-cv-00184-LCB-CWB Document 557-15 Filed 05/27/24 Page 14 of 109




mere act of codifying a psychiatric disorder can cause a new clinical presentation among those

with pre-existing mental health challenges (Gauld 2022; Horesh 2022).

       36.     Humans evolved as a sexually dimorphic, ultra-social, and cultural species. Culture

has comingled with our evolution because learning from others enables our very survival. Humans

acquire a considerable portion of our behaviors and viewpoints “by tapping into a large body of

non-genetic information that has been filtered and accumulated over generations. This process,

termed cumulative cultural evolution, creates a storehouse in the form of strategies, attentional

biases, motivations, tastes, and cognitive heuristics that are necessary for us to accomplish even

the basics of survival.” (p. 210 Henrich 2021).

       37.     Humans thus cannot explain the original rationale for many of our routines, habits,

and customs because they have been shaped over time. Cumulative culture constantly changes, but

the recent rate of change has been exponentially faster due to the explosion of technologies. The

modern world is thus experiencing perhaps the largest generation gap in history, much of which is

caused by media and online experiences.

       38.     In ancient evolutionary environments, copying others aided survival via the trans-

mission of acquired knowledge about what areas were safe, how to make shelters or weapons,

what berries or mushrooms were safe to eat, and what type of social behavior was acceptable

within a group. Human brains are particularly adapted with exceptional abilities to notice and copy

the behavior of others, and transmission of culture occurs in part via humans naturally mimicking

what we observe in others.

       39.     Unfortunately, these same instincts that develop helpful behavioral norms also en-

able social contagions that comingle with mental and behavioral disorders. Long-standing schol-

arly consensus exists confirming that direct social contagion not only affects health such as cardiac




                                                  11
 Case 2:22-cv-00184-LCB-CWB Document 557-15 Filed 05/27/24 Page 15 of 109




disease (Christakis 2013), but interacts with technology to enable the spread of mental health prob-

lems (Haltigan 2023). For instance, in recent years technology has aided the spread of suicide

contagion (Yıldız, 2019), non-suicidal self-injury (Jarvi, 2013), and contagion related to eating

disorders such as anorexia (Allison 2014).

       40.     Since the Covid 19 pandemic, there has been an explosive increase of young people

displaying features of Dissociative Identity Disorder (Gauld 2022) and movements similar to those

seen in Tic Disorders such as Tourette’s (Pringsheim 2021). Similar to other examples of social

contagion, these sudden onset tic presentations tend to be comorbid with pre-existing mental ill-

nesses, and adolescent girls show themselves to be the most susceptible.

       41.     The phenomenon labeled Mass Social Media Induced Illness (Giedinghagen, 2022)

shows us that, at scale, users of social media can develop technology-facilitated psychosomatic

illness. Psychiatrists have seen an abrupt rise in patients presenting with a social media enabled

self-diagnosis (Rettew 2022, Weigle 2023).

       42.     Similarly, significant evidence suggests that the dramatic rise in minors presenting

with gender dysphoria may be attributable to technologically induced contagion effects. In 2018,

researcher Lisa Littman conducted a survey of parents of gender dysphoric youth whose gender

dysphoria began during or after puberty (Littman 2018). “Most (86.7%) of the parents reported

that, along with the sudden or rapid onset of gender dysphoria, their child either had an increase in

their social media/internet use, belonged to a friend group in which one or multiple friends became

transgender-identified during a similar time-frame, or both.” (Littman 2018 p.2) Littman thus hy-

pothesized that, as with other social contagions such as disordered eating, aggression, bullying,

and drug use, “it is plausible that the following can be initiated, magnified, spread, and maintained




                                                 12
 Case 2:22-cv-00184-LCB-CWB Document 557-15 Filed 05/27/24 Page 16 of 109




via the mechanisms of social and peer contagion: (1) the belief that non-specific symptoms (in-

cluding the symptoms associated with trauma, symptoms of psychiatric problems, and symptoms

that are part of normal puberty) should be perceived as gender dysphoria and their presence as

proof of being transgender; (2) the belief that the only path to happiness is transition; and (3) the

belief that anyone who disagrees with the self-assessment of being transgender or the plan for

transition is transphobic, abusive, and should be cut out of one’s life.” (Littman 2018 p. 33)

       43.     As explain below, Littman’s paper and her hypothesis of a “rapid-onset gender dys-

phoria” received remarkable blowback from advocates of “gender affirming care.” The journal

that published the paper retracted the initial paper, issued a “correction,” and re-published the pa-

per (with the initial data unchanged). Since then, the hypothesis of a social contagion element to

adolescent gender dysphoria has only grown stronger.

       44.     Clinicians working at the Tavistock clinic in London (before its closure, the world’s

largest adolescent gender clinic) expressed support for Dr. Littman’s concept of Rapid Onset Gen-

der Dysphoria: “While some of us have informally tended toward describing the phenomenon we

witness as ‘adolescent-onset’ gender dysphoria, that is, without any notable symptom history prior

to or during the early stages of puberty (certainly nothing of clinical significance), Littman’s de-

scription resonates with our clinical experiences from within the consulting room” (Hutchinson

2019). They added: “[I]t is commonplace for clinicians to engage in conversations regarding this

phenomenon. Furthermore, from speaking with international colleagues, it seems to us that this

phenomenon is also being observed in North America, Australia, and the rest of Europe.”

       45.     Littman’s research and her conclusions should not have surprised those following

the literature on gender dysphoria. Three years earlier, a leading Finnish clinician (Kaltiala-Heino,




                                                 13
 Case 2:22-cv-00184-LCB-CWB Document 557-15 Filed 05/27/24 Page 17 of 109




2015) showed that a new cohort, mostly females with significant emotional disturbance, was pre-

senting to gender clinics: “It is important to be aware of the different groups, or developmental

pathways, in gender dysphoric adolescents in order to be able to find appropriate treatment options.

In the presence of severe psychopathology and developmental difficulties, medical [sex reassign-

ment] treatments may not be currently advisable. Treatment guidelines need to be reviewed ex-

tended to appreciate the complex situations.” In other words, three years prior to Littman’s work,

researchers had already identified the new cohort of patients Littman later wrote about: “In our

data, most of the adolescents first presented with gender dysphoria and cross-gender identification

well after the onset of puberty, and the vast majority suffered significant psychopathology and

broader identity confusion than gender identity issues alone. It is important to be able to openly

discuss these alternative presentations of gender dysphoria in order to find appropriate treatment

options.” The UK Cass Review recently came to a similar conclusion: “At present we have the

least information for the largest group of patients—birth-registered females first presenting in early

teen years.” (Cass 2022 p.58).

       46.     A recent paper (Diaz 2023) analyzed survey results of parents of children who be-

lieve their children to have Rapid Onset Gender Dysphoria. This survey found a large portion of

natal males with prior onset of video game addiction (17%), and substantial numbers of these youth

were reported to have internet addiction (14% for natal males and 16% for natal females) prior to

gender dysphoria. The paper concluded: “Youths with a history of mental health issues were es-

pecially likely to have taken steps to socially and medically transition…. parents believed gender

clinicians and clinics pressured the families toward transition. The finding is particularly concern-

ing given that parents tended to rate their children as worse off after transition.”




                                                  14
  Case 2:22-cv-00184-LCB-CWB Document 557-15 Filed 05/27/24 Page 18 of 109




        47.     Dr. Jack Turban, a psychiatrist and transgender activist, recently attempted to argue

against social influences on gender dysphoria and transgender status, warning that “the notion of

ROGD has been used in recent legislative debates to argue for and subsequently enact policies that

prohibit gender-affirming medical care for [transgender and gender diverse] adolescents.” As is

often the case when activism is prioritized over scholarship, Dr. Turban’s article is replete with

misinformation. The article begins by asserting, for instance, that the ROGD “hypothesis was

formed solely through the analysis of online parental survey data.” (Turban 2022). But as shown

above, clinicians had already reported the change in patient profile three years before Littman’s

article, in 2015.

        48.     Even more significantly, a letter to the editor published in Pediatrics noted that

Turban’s article contained “critical theoretical and methodological concerns specific to its concep-

tualization of social contagion and its data analysis.” (Lett 2022). Much more substantial critiques

were rejected by the editors at Pediatrics; while not searchable or indexed as scholarly work, some

of the critiques are available as comments on the article’s web page. One group of authors, led by

Leonora Regenstreif at McMaster University (home of evidence-based medicine), documented

concerns about “the non-random sampling,” “the information not solicited in the survey, the word-

ing and possible interpretations of the questions, as well as the accuracy and completeness of the

data generated… [and] the imprecise wording of several questions regarding self-identity and sex-

uality.” (Regenstrief 2022.) This group noted how Turban “assume[d] away” the key question of

how trans-identified teens will answer “What is your sex?”, even though the CDC had “urg[ed]

caution in interpreting the ‘sex’ variable” because it is known that some trans-identified teens will

give their gender rather than their biological sex when asked for their sex. Yet Turban’s entire

study was based on this assumption. (Regenstreif 2022). Another researcher ran the data and found




                                                 15
  Case 2:22-cv-00184-LCB-CWB Document 557-15 Filed 05/27/24 Page 19 of 109




out that, indeed, transgender respondents who identified as male were on average 2.5 cm shorter

than non-transgender male respondents, indicating “that some of the transgender respondents who

identified themselves as male were natal females.” (Biggs 2022A) As that researcher concluded:

“Given the ambiguity of the [survey’s] question on sex—evidently confusing to respondents and

to scientists alike—no conclusion about the sex ratio of transgender youth can be drawn from this

survey. The article does, however, provide considerable insight into the editorial standards main-

tained by Pediatrics.” (Biggs 2022A)

        49.     Regarding social contagion and Rapid Onset Gender Dysphoria, Turban also re-

ported in that same article that he is attempting to influence political and legislative actions and

theorizes that scholarly discussion of the data supporting social influence as a causes of the rapid

increases in gender dysphoria is somehow harmful. He lamented: “The deleterious effect of un-

founded hypotheses stigmatizing [transgender and gender diverse] youth, particularly the ROGD

hypothesis, cannot be overstated, especially in current and longstanding public policy debates.”

(Turban 2022). This statement alone reveals that Turban prioritizes advocacy over science and the

search for the truth.

        50.     Whereas “gender affirming” organizations like WPATH have been critical of the

“rapid-onset gender dysphoria” hypothesis and the possibility of a social element to the rise in

cases of adolescent gender dysphoria, healthcare authorities other countries have paid more atten-

tion. As already noted, the independent Cass Review in the UK has recognized the rapid change

in patient profile and warned that little data exists “on the more recent case-mix of predominately

birth-registered females presenting in early teens” because “[m]uch of the existing literature about

natural history and treatment outcomes for gender dysphoria in childhood is based on a case-mix

of predominately birth-registered males presenting in early childhood.” (Cass 2022 p.19).




                                                16
 Case 2:22-cv-00184-LCB-CWB Document 557-15 Filed 05/27/24 Page 20 of 109




       51.     Likewise, last February the French National Academy of Medicine noted: “What-

ever the mechanisms involved in the adolescent—overuse of social networks, greater social ac-

ceptability, or example in the entourage—this epidemic-like phenomenon results in the appearance

of cases or even clusters in the immediate surroundings.” It recommended “[t]he vigilance of par-

ents in response to their children’s questions on transidentity or their malaise, underlining the ad-

dictive character of excessive consultation of social networks which is both harmful to the psy-

chological development of young people and responsible, for a very important part, of the growing

sense of gender incongruence.”

       52.     In my experience, many psychiatrists in America also believe social media has sig-

nificantly contributed to the rise in gender dysphoria. Yet most child and adolescent psychiatrists

I speak with admit to me they will not speak publicly on this subject due to how sensitive the topic

is, expressing fears of hostilities from activists along with condemnation and retribution from oth-

ers within their universities or organizations.

       53.     My personal conversations align with recent polling. As part of the Social Media

Institute at the October 2022 American Academy of Child and Adolescent Psychiatry annual con-

ference, program chair Paul Weigle anonymously polled the audience was on a number of topics.

When polled: “How often do you see teens who seem to be influenced by social media in regards

to their sexual and/or gender identity?”, 80 of 97 (82%) of the child psychiatrists in attendance

indicated social media was an influence “somewhat often” or “very often.” This data was recently

published in Psychiatric Times (Weigle 2023), and to my knowledge, is the first data suggesting

that the vast majority of a group of child and adolescent psychiatrists acknowledge that social

contagion may be a major contributor to the rise in gender dysphoria.




                                                  17
 Case 2:22-cv-00184-LCB-CWB Document 557-15 Filed 05/27/24 Page 21 of 109




       54.     A similar poll was conducted by Dr. Weigle at the January 18, 2023, meeting of the

Child & Adolescent Psychiatry Society of Greater Washington, where all attendees were physician

members. When asked, “How often do you see teens who seem to be influenced by social media

in regards to their sexual and/or gender identity?”, there were 34 respondents. 47% indicated Oc-

casionally and 35% indicated Often. So again, 82% of these child and adolescent psychiatrists

reported that they see teens’ gender identity being influenced by social media. These polls suggest

that practicing child and adolescent psychiatrists have direct clinical experience leading them to

believe social media is influencing gender identity in their patients. More research is needed into

Rapid Onset Gender Dysphoria and other possible causes of the recent change in patient profile in

gender dysphoric youth.

       55.     In my opinion ideological and social factors underlie much of the recent increase

in gender dysphoria in adolescents. While this does not rule out other factors, the ongoing research

demonstrating an association between social factors and gender dysphoria in adolescents raises

serious doubts about the wisdom of using transitioning treatments like puberty blockers and cross-

sex hormones to treat the new population of gender dysphoric youth.

THE DANGERS OF PROCLAIMING A FALSE SCIENTIFIC CONSENSUS FOR HOW
         BEST TO TREAT GENDER DYSPHORIC YOUNG PEOPLE

       A. Best Practices for Scientific Dialogue

       56.     Our highly social nature and limited rationality demand that, in medicine and sci-

ence, we create conditions which foster trustworthy data and minimize the creation and spread of

misinformation. In my opinion, medical organizations and journals have recently prioritized ad-

vocacy over science when it comes to considering treatments for gender dysphoric young people.

       57.     Evidence based medicine requires “the development and promotion of a universal

set of scientific rules that ensure accurate inferences on the basis of experience” (Djulbegovic,



                                                18
 Case 2:22-cv-00184-LCB-CWB Document 557-15 Filed 05/27/24 Page 22 of 109




2009). A prescription for open exchange and deliberate consideration regarding gender dysphoria

treatments should aspire to:

                a. Solicit a diversity of perspectives.

                b. Discuss the argument, rather than the person making the argument.

                c. Clarify the methods, source of data and its limitations.

                d. Use precise language rather than broad ideologies.

                e. Discuss potential sources of bias, including those related to group affiliation.

                f. Quickly acknowledge and correct mistakes.

          58.      This framework would depersonalize the search for truth and esteem empirical di-

alogue.

          59.      For this reason, clinical practice guidelines and documents providing generalized

medical recommendations must objectively reflect the evidence base. The Mayo Clinic Proceed-

ings article, “Clinical Practice Guidelines: A Primer on Development and Dissemination,” (Murad

2017) highlights that “trustworthy clinical practice guidelines require a systematic review to select

the best available evidence and should explicitly evaluate the quality of evidence.” The authors’

criteria for trustworthy guidelines include:

                a. “Be based on explicit and transparent process that minimizes distortions, biases and

                   conflicts of interest.”

                b. “Provide a clear explanation of the logical relationships between alternative care

                   options and health outcomes.”

                c. “Provide ratings of the quality of evidence and the strength of the recommenda-

                   tions.”




                                                     19
  Case 2:22-cv-00184-LCB-CWB Document 557-15 Filed 05/27/24 Page 23 of 109




        B. How Breakdowns in Scientific Dialogue Occur

        60.    Ideological homogeneity and group identity are risk factors for developing irra-

tional beliefs and spreading misinformation. (Sun 2022; Macy 2018). This directly relates to atti-

tudes about transgenderism and gender dysphoria treatments where ideological dogma has dis-

torted scientific exploration. Those who dare to question the dogma, such as Littman, are treated

as heretics.

        61.    The dynamics of this polarization and lack of intellectual humility are understand-

able. Within psychiatry and medicine, practitioners face patients suffering from enormous suffer-

ing. Gender non-conforming patients at times face harassment and discrimination. Patients ex-

pressing gender dysphoria have high rates of depression, anxiety, and self-harm. All physicians

and mental health professionals want to help. Those who started adolescent gender clinics hoped

to relieve suffering. Yet in medicine excessive optimism regarding low quality treatments can

cause rather than reduce suffering.

        62.    All humans, including physicians, tend to find arguments in favor of conclusions

we want to believe, and this bias is known as motivated reasoning (Peters 2020). Supporters of

gender-affirming treatment want to believe they have found an ethical and evidence-based solu-

tion. This motivated reasoning explains the strong divergence between the enthusiastic support for

gender-affirming treatments and their relatively weak evidence base (Brignardello-Peterson 2022).

        63.    Once a group, such as a gender committee, endorses a statement of belief, such as

“gender affirmative care is life-saving,” other psychiatrists in their professional organization who

have not reviewed the facts tend not to question it. Psychiatrists face a rapidly expanding evidence

base across disorders, and we depend on specialization to lead us toward progress in our varied

patient populations.




                                                20
  Case 2:22-cv-00184-LCB-CWB Document 557-15 Filed 05/27/24 Page 24 of 109




       64.     Especially if the “experts” assert a strong moral claim regarding a clinical approach,

other physicians would assume it is based on strong evidence. This creates a group process where

the leadership responds to show support and loyalty, and others tend to follow. Support of this

moral claim becomes a marker of virtue and raises status within the group. Those who are skeptical

tend to self-censor (a “spiral of silence”) rather than taking a risk of being called unethical (Noelle-

Neumann 1974). These dynamics, especially leadership’s endorsement, make opinions appear like

facts within the group. Members of this group never hear counterarguments or disconfirming data

and become ever more confident.

       65.     Within such moralized environments, education and intelligence offer limited pro-

tection from irrational beliefs. In fact, sophisticated language skills enable virtuosity in creating

and promoting false narratives. These dynamics have arisen before in medicine, and it is my as-

sessment this has occurred again with regards to medical interventions to treat gender dysphoria

in minors.

       66.     Contrary to popular belief, humans’ emotional programing drives much of our cog-

nitive processes. That is, we tend to create beliefs that go along with what we feel, rather than the

other way around. This usually works well, but also causes serious problems. In cognitive therapy,

it is known as “emotional reasoning.” Emotional reasoning helps explain opinion cascades, parti-

sanship, and group-think, as those who identify strongly with a group tend to feel positively toward

those in the group and negatively toward the out-group.

       67.     The moralized framing of affirmative treatments for gender dysphoria encourages

a cognitive shortcut known as attribution substitution (Sunstein 2009, p 216). Attribution substi-

tution is the process whereby a simple, related moral judgement is substituted for various concep-




                                                  21
  Case 2:22-cv-00184-LCB-CWB Document 557-15 Filed 05/27/24 Page 25 of 109




tually complex decisions. This common cognitive bias causes humans to intuitively believe view-

points which appear virtuous, especially ideas which seem widely held within their social group.

“Affirmative care” sounds compassionate and supportive, and these minor semantics can have a

surprising influence.

        68.    Physicians can be especially susceptible to manipulation. Psychiatrist Anna

Lembke, in her 2016 book Drug Dealer, MD: How Doctors Were Duped, Patients Got Hooked,

and Why It’s So Hard to Stop, explained that “[d]octors are by and large pleasers” because “[t]hey

make it through the complex maze of schooling all the way to medical school by figuring out early

what people want and providing it.” (Lembke 2016, p. 104). In this way, physicians are susceptible

to acquiesce to patient narratives and overtreat.

        69.    Conditions resting on entirely subjective assessments like level of pain or gender

identity have the most potential for harmful overtreatment. In both cases, patients can easily find

out what symptoms to report to obtain the treatment they desire, as has been noted in the Cass

Interim Review: “We have heard that some young people learn through peers and social media

what they should and should not say to therapy staff in order to access hormone treatment.” (Cass

Review 2022) In the current political climate, physicians feel the pressure to not be assailed as a

“gatekeepers,” even when logic and data tell them outside social pressures should not distort med-

ical care.

        C. Historical Examples of Harmful Scientific “Consensus” and Overtreatment

        70.    The medical system has a long history of spurts of overdiagnosis and overtreatment.

Oncologist Otis Brawley laments that “our medical system fails to provide care when it is needed

and fails to stop expensive, often unnecessary, and frequently harmful interventions even in situa-

tions when science proves these interventions are wrongheaded” (Bawley 2011, p. 22). Many of




                                                    22
 Case 2:22-cv-00184-LCB-CWB Document 557-15 Filed 05/27/24 Page 26 of 109




our harmful interventions such as frontal lobotomies were celebrated at the time. Eventually soci-

ety sees the harm, pushes back, and the medical profession eventually reforms.

         71.    Hydrotherapy, sterilization, lobotomy, and clitoridectomy (removal of clitoris to

treat “hysteria”) were each a part of the medical establishment in the first half of the twentieth

century (Braslow 1997). Prior to the age of antibiotics, neurosyphilis was a common cause of

psychiatric admission, diagnosed at that time as general paralysis of the insane. The causative

theory was the premature using up of cerebral vitality through excessive enjoyment of wine,

women, and life. A common treatment of the time was malarial induced fever. It was thought this

“treatment” saved patients from general paralysis of the insane, which had a fatal course (Shaw

1927).

         72.    For decades, sterilization was legitimized by the medical establishment. Not long

ago, “[t]he most important elite advocating eugenic sterilization was the medical establishment,”

which advocated “with near unanimity” for the procedure. “[E]very article on the subject of eu-

genic sterilization published in a medical journal between 1899 and 1912 endorsed the practice.”

(Cohen 2016).

         73.    Similarly, pioneers of frontal lobotomies spun their procedure with enthusiastic en-

dorsement of the therapeutic nature of the procedure, ignoring evidence to the contrary. Their

overstatements propelled lobotomies to gain acceptance among physicians desperate for new tools

to address clinically challenging patients (Afkhami 2022). When the developer of the lobotomy,

António Moniz, won the Nobel Prize in 1949, it further legitimized the operation. Even in 1954,

the American surgeon and proponent of the surgery Walter Freeman claimed that transorbital lo-

botomies had mortality and morbidity rates that were “gratifyingly and consistently low” (Afkhami

2022) . Yet by this time, medical journals were already documenting harms done (Afkhami 2022).




                                                 23
 Case 2:22-cv-00184-LCB-CWB Document 557-15 Filed 05/27/24 Page 27 of 109




Afkhami et al’s linguistic analysis displays how lobotomy proponents projected a sense of hero-

ism. They showed confirmation bias, i.e., these advocates ignored evidence disconfirming their

theories. They tracked onto social norms in order to aggrandize their treatments and create a moral

imperative to use lobotomies; as Freeman argued in 1954, “it seems not only possible, but obliga-

tory, to extend the program of psychosurgery into the state mental hospitals in an effort to relieve

human misery” (Afkhami 2022).

       74.     Medical educators teach residents and students when reviewing research to look for

bias. Who initiated this research? Did they have a certain goal or outcome in mind, or are they

neutral? This is because when advocates or industry fund research, multiple mechanisms cause the

research to typically obtain the result desired by the funders. (Sismondo 2008). Within my career,

I witnessed the pharmaceutical industries’ manipulations to promote antidepressants. These ma-

nipulations were aided by our professional organizations, such as the American Psychiatric Asso-

ciation and American Academy of Child and Adolescent Psychiatry, who at the time were receiv-

ing significant funding from industry. “It’s possible for good people, in perversely designed sys-

tems, to casually perpetuate acts of great harm on strangers, sometimes without ever realizing it”

(Goldachre 2014, p. xi). In the 2000s, an audit found that over 90% of the psychiatrists who created

the clinical practice treatment guidelines were also paid by the pharmaceutical industry (Cosgrove

2009). Not surprisingly, the treatment guidelines at the time were overly focused on medications

and downplayed other approaches. At psychiatric meetings and in our medical journals, those of

us whose approach went beyond medications were marginalized.

       75.     It was only after being sued that pharmaceutical companies were forced to release

all their data, revealing that overall antidepressants often do not beat placebo, especially when




                                                24
  Case 2:22-cv-00184-LCB-CWB Document 557-15 Filed 05/27/24 Page 28 of 109




treating children and adolescents. After this embarrassment, in the late 2000s, the American Psy-

chiatric Association and American Academy of Child and Adolescent Psychiatry put in reforms to

limit undue influence of pharmaceutical companies. In part, overtreatment occurred at scale be-

cause providers were fooled by their clinical experience, as antidepressants have such a strong

placebo response. In fact, it now appears that four out of five positive responses are arguably a

placebo response (McCormack 2018, Hopcroft 2018).

        76.     For years, when antidepressant medications research obtained unfavorable or neu-

tral results, these results were often never submitted for publication or buried in an obscure journal.

(Turner 2008). Unfavorable results of antidepressant trials were also significantly delayed, known

as time lag bias (Reyes 2011). Positive antidepressant trials were typically published quickly and

in prestigious journals; thus, psychiatrists following the published literature were falsely led to

believe, for many years, that medications like paroxetine (Paxil) effectively treat depression in

children. We now know, after the complete set of research has been released, that for children,

many medications, including paroxetine, do not beat placebo. This is all the more concerning as

psychiatrists and other providers exposed thousands of youth to paroxetine’s side effects, which

include increased suicidality. It was quite humbling to realize how medical journals and distorted

medical dialogue can lead to mass adoption of ineffective and potentially damaging treatment. It

wasn’t just financial incentives that led to harm, but also doctors’ egos, observations of placebo

effects, and desires to relieve suffering.

        77.     Within psychiatry and mental health, we have seen waves of theories. Psychoanal-

ysis no longer dominates psychiatry but serves as an example of how a non-empirical theoretical

approach can gather support, become dominant, and enforce ideological hegemony within psychi-

atry. When I was a trainee, many psychiatric leaders were trained as psychoanalysts, and it was




                                                  25
  Case 2:22-cv-00184-LCB-CWB Document 557-15 Filed 05/27/24 Page 29 of 109




clear that it was not socially acceptable for trainees to challenge the psychoanalytic orthodoxies.

An anthropologist even documented our psychiatric sub-cultures and how we are “of two minds”

(Luhrmann 2001). For decades psychoanalysis dominated American psychiatry. “By 1960, virtu-

ally every major psychiatry position in the U.S. was occupied by a psychoanalyst. More than half

of all psychiatrists were training to become analysts or were analytically-inclined in their orienta-

tion. All of the major psychiatry departments appointed psychoanalysts as chairmen.” (Rufalo

2019) Furthermore, psychiatrists “seemed more interested in becoming respected members of the

establishment than in challenging it. Insular, highly competitive, and prestigious, psychoanalysis

became a ‘status symbol.’” Psychoanalysis rose to and maintained dominance for decades not be-

cause it was effective at treating mental illness but because it served as a marker of intellectual

sophistication and membership in the leadership class. It is my opinion that these same dynamics

have led to the over-enthusiastic support for affirmative treatments for gender dysphoria among

psychiatrists.

       78.       The repressed and false memories movement of the 1980s and 1990s is another

example of wide adoption of a theory without adequate evidence. While human memory is indeed

flawed, and reports of distant memories being retrieved cannot be uniformly ruled as false, we

know, and should have also known at the time, that human memory is susceptible to manipulations

and is frequently inaccurate. A large contingent of mental health practitioners displayed a lack of

skepticism, which led to harms both to patients and those who were at times falsely accused. (Ot-

gaar 2022)

       79.       The recent opioid epidemic is medicine’s most recent and deadly episode of over-

treatment. Harmful and unnecessary interventions are especially likely to occur when patient de-




                                                 26
 Case 2:22-cv-00184-LCB-CWB Document 557-15 Filed 05/27/24 Page 30 of 109




sires are combined with financial incentives and the best of intentions. The American opioid epi-

demic was ushered in by “expert” physicians who proposed physicians needed more compassion

because “pain is the 5th vital sign” (Mandell 2016, Adams 2016). Advocates for this approach

were able to convince administrators and hospitals to push “improvements” in clinical care which

prioritize documenting and reducing pain, with the result that opioid prescriptions skyrocketed.

While a small number of patients may have achieved better pain control as a result, it came at the

cost of creating legions of addicts. The Veterans Health Administration launched the “Pain as the

5th Vital Sign” initiative in 1999, requiring a pain intensity rating (0 to 10) at all clinical encoun-

ters. In 2001, the Joint Commission on Accreditation of Health Care Organizations warned that it

would be looking at organizations’ pain assessments in their accreditation judgments, thus using

government fiat to force health providers en masse into harmful medical practice.

       80.     Similar to medicalization of transgender care, this government-backed proclama-

tion regarding pain treatment came without sufficient proceeding scholarly dialogue or even evi-

dence that the suggested approach would actually solve the problem it claimed to be addressing

(Mularski 2006). Nor did those “expert” physicians promoting increased use of opioids show any

consideration for the potential long-term harms. Many patients suffer from physical and emotional

pain, but when patient-driven medicine is allowed, too much compassion can cause harm.

 THE POLITICIZATION OF GENDER CARE AND SUPPRESSION OF DISSENTING
                      OR QUESTIONING VOICES

       81.     With rapidly growing cohorts of patients expressing novel symptom clusters in a

new area of medicine where a limited evidence base exists, differences of opinion regarding clin-

ical care for gender dysphoria are expected. It would be remarkable if there was uniformity of

opinion. Furthermore, gender care is politicized, and opinions tend to cluster in a manner consistent

with an influence of political ideology (Regnerus 2022).



                                                  27
  Case 2:22-cv-00184-LCB-CWB Document 557-15 Filed 05/27/24 Page 31 of 109




        82.    Within this context of low-quality evidence and divergent opinions, there are bound

to be calls for reasonable clinical safeguards. There are also serious reservations regarding the

effectiveness and concerns about the risks from affirmative treatment for Gender Dysphoria (Clay-

ton 2022A, Biggs 2022B).

        83.    Much of the push for “affirmative treatment” for gender dysphoria treatment has

come from professional organizations such as the World Professional Association for Transgender

Health, Endocrine Society, American Academy of Pediatrics, American Psychiatric Association,

and American Academy of Child and Adolescent Psychiatry.

        84.    Just as with other groups, professional medical organizations are susceptible to

tribal influences and politicization. Medical professional organizations are large bureaucracies that

serve many functions. They are important components of our medical system, but their influence

and credibility can be misused. I have directly observed over the last decade, but particularly the

last 5 years, that these organizations have prioritized a politicized and narrow vision of social jus-

tice advocacy. While this has arisen from good intentions, it has contributed to the creation and

spread of misinformation regarding treatment of gender dysphoria.

        85.    I have directly observed that within these organizations, the members most enthu-

siastic about a certain type of medicine self-select into “special interest groups” or committees.

For instance, the psychopharmacology committee is filled with supporters of using psychophar-

macology, and the psychotherapy committee is populated by members enthusiastic about psycho-

therapy. Committees on gender and sexuality have been no exception. By participating in a com-

mittee, a small group of people can establish themselves as content experts within their organiza-

tion.




                                                 28
    Case 2:22-cv-00184-LCB-CWB Document 557-15 Filed 05/27/24 Page 32 of 109




        86.    Using committees as content experts usually works well, as it did during my eight

years as co-chair within AACAP’s media committee. AACAP leadership utilized our input to

make decisions about clinical recommendations, public education, or relevant legislation.

        87.    As gender clinics spread across America in recent years, enthusiasts of “gender

affirming care” self-selected into these clinics and also into gender-relevant committees. In my

experience, most physicians are wary of the very concept that it can be beneficial to block puberty

or give cross-sex hormones to developing minors. Thus, those who venture into medicalized gen-

der care are already a select few who bring to this work certain viewpoints and aspirations. Just as

with the psychopharmacology or psychotherapy committee members, gender committee members

have strong personal and professional investments in the success of their favored type of treatment.

This creates a well-intentioned but homogenous group of supporters of “gender affirming care.”

        88.    Without the knowledge of most members of a professional organization, as few as

the dozen members in a committee can steer these organizations’ leadership to advocate for treat-

ments or policy positions. Once medical organizations have come out with policy statements, clin-

ical practice guidelines, and press releases advocating strongly for a position, they have difficulty

accepting they may have misstated evidence, advocated for unwise policy, or otherwise caused

harm.

        A. American Academy of Pediatrics

        89.    The highly influential 2018 Policy Statement from the American Academy of Pe-

diatrics (AAP) (Rafferty 2018) contains a preamble confirming that the author2 wanted his Policy

Statement to be an advocacy document; the document begins with “As a traditionally underserved




2
  Dr. Rafferty alone “conceptualized the statement, drafted the initial manuscript, reviewed and
revised the manuscript, [and] approved the final manuscript as submitted.” (Rafferty 2018)


                                                 29
 Case 2:22-cv-00184-LCB-CWB Document 557-15 Filed 05/27/24 Page 33 of 109




population that faces numerous health disparities” and ends with “while eliminating discrimination

and stigma.” These themes are continued in the introduction and throughout the document. This

Policy Statement contained many citation errors, overstatements, and mischaracterizations of the

evidence base (Cantor 2020). The policy statement unfortunately denigrated and mischaracterized

the longstanding and well-regarded clinical approach of watchful waiting, which the statement

called “outdated” and claimed that “Watchful waiting is based on binary notions of gender in

which gender diversity and fluidity is pathologized.” In fact, watchful waiting respects fluidity and

identity development to a greater degree than “gender affirming care” because it leaves room for

the patient to continue to grow in his or her identity. This policy statement has been particularly

detrimental to the scholarly exchange of ideas related to gender dysphoria treatments, as it used

the prestige of the AAP to privilege the concept of “affirmative care” and denigrate other treat-

ment. It also increased momentum to enshrine social transition and access to medical treatments

in minors, whether or not these are prudent or evidence-based approaches.

       90.     Rather than encourage scholarly debate, the American Academy of Pediatrics has

gone to great length to suppress its own members concerns about gender affirming treatments

(Mason 2022). When an AAP fellow explained in the Wall Street Journal how the AAP had

quashed member resolutions to conduct a systematic evidence review and reconsider its positional

stance on “gender affirming care” (Mason 2022), the AAP’s President responded publicly with

multiple mischaracterizations of the debate, distortions of the AAP’s own advice to clinicians, and

divisive rhetoric characterizing those who urge caution as “anti-trans” (Szilagyi 2022)

       91.     Organizations’ political activism has important ramifications and creates a false

impression that gender-affirming treatment rests on strong and settled science. Two recent press

releases provide examples. The September 28, 2022 American Academy of Pediatrics (AAP) press




                                                 30
 Case 2:22-cv-00184-LCB-CWB Document 557-15 Filed 05/27/24 Page 34 of 109




release regarding the State of Oklahoma condemns any limits on gender-affirming health care.

Defending scope of practice is typical for medical associations. Yet the press release frames these

limits as discrimination based on gender identity, a moralized characterization of restrictions on

care.

        92.    American Academy of Pediatrics’ opposition to Oklahoma’s limits on moral

grounds (discrimination) fails to acknowledge ethical concerns regarding treatment of children

with gender dysphoria. Those concerns of “gender affirming care” include large-scale, potentially

irreversible damage to minors and a dysfunctional informed consent process that overstates the

evidence of benefits and does not offer alternative treatments—all in a context in which many

providers of gender affirming treatments do not even acknowledge that the recent surge in patients

expressing gender dysphoria represents a never before-studied cohort without long term outcomes

(Levine 2022). This is an example of two competing moral frameworks, which both express valid

concerns. As such, a more appropriate perspective from a medical organization would be a call for

reasoned dialogue to evaluate the moral claims on each side and examine the logic and data behind

these moral frameworks and treatments. It is ethical to seek to find more cautious ways to care for

and support youth with gender dysphoria or to seek a higher level of evidence before allowing

minors to make permanent decisions regarding altering their bodies.

        93.    Curiously, the AAP statement invokes parental rights, but without clarifying if the

AAP supports the very likely majority, who do not want hormonal or surgical treatment for their

child’s gender dysphoria. This AAP statement misses an opportunity to show respect for those

who disagree, and would rather frame them as biased, which is an indication of how politicized

the AAP organization has become.




                                                31
 Case 2:22-cv-00184-LCB-CWB Document 557-15 Filed 05/27/24 Page 35 of 109




       94.      The AAP has also demonstrated its politicization by publishing statements and join-

ing amicus briefs across a range of political issues, including immigration (American Academy of

Pediatrics 2017), affirmative action (Brief for Amici Curiae Association of American Medical

Colleges et al. 2022), firearms (Letter to Chairman Patrick Leahy 2022), critical race theory (Trent

et al. 2019, AAP Board of Directors 2020, AAP 2022), and climate change (Council on Environ-

mental Health et al. 2015).

       95.      As the Liaison from the American Academy of Child and Adolescent Psychiatry to

the American Academy of Pediatrics, I sat on the AAP’s Council on Communication and Media

and witnessed the organization’s increased politicalization firsthand.

       B. American Academy of Child and Adolescent Psychiatry

       96.      Like other medical organizations, the American Academy of Child and Adolescent

Psychiatry (AACAP) has come out strongly for affirmative care, supporting the opinion that mi-

nors have the emotional and cognitive development to consent to treatments that may have adverse

lifelong consequences such as sterility. Yet when the question was mandatory life in prison in

Miller v. Alabama, the AACAP (and the American Medical Association) Amicus Curiae (2012 p.

2-3) claimed:

       Scientists have found that adolescents as a group, even at later stages of adoles-
       cence, are more likely than adults to engage in risky, impulsive, and sensation-
       seeking behavior. This is, in part, because they overvalue short-term benefits and
       rewards, and are less capable of controlling their impulses, making them suscepti-
       ble to acting in a reflexive rather than a planned voluntary manner. Adolescents are
       also more emotionally volatile and susceptible to stress and peer influences. In
       short, the average adolescent cannot be expected to act with the same control or
       foresight as a mature adult.

       97.      Unless this organization is willing to backpedal on its well-substantiated and well-

documented arguments in Miller v. Alabama, how can it basically argue the opposite when it




                                                 32
 Case 2:22-cv-00184-LCB-CWB Document 557-15 Filed 05/27/24 Page 36 of 109




comes to consent for irreversible treatment within the context of low-quality evidence and signif-

icant risk of harm?

       98.     In 2018, Lisa Littman presented her research data at American Academy of Child

and Adolescent Psychiatry conference and received personal enmity which caused a colleague to

remark he had never seen a presenter at a conference treated with such hostility. I did not attend

live but later watched the presentation online and also heard the many demeaning and unprofes-

sional comments directed toward Dr. Littman.

       99.     Members of AACAP (and other organizations) who observe scholars being con-

demned in this manner will certainly think twice before voicing their concerns about gender af-

firming care. This polarization and moralization can create a “spiral of silence”: an appearance of

agreement because a small moralizing group dominates the discussion (Noelle-Neumann 1974).

This is consistent with my experience. I have been told by a range of child psychiatrists, from very

senior AACAP “life members” to residents in training, that they are unwilling to openly express

their viewpoint, but they do not see data or logic supporting “gender-affirming” treatments.

       100.    The 2022 AACAP conference featured at least six presentations related to gender

dysphoria or transgender patients, none presenting new research. Yet a research symposium was

rejected which was to include prominent international gender dysphoria researcher and clinician,

Riittakerttu Kaltiala, MD, PhD, Dr. Littman, and detransitioners. The AACAP program committee

co-chair James McGough later indicated via a May 28, 2022 email that this highly unusual rejec-

tion was in part due to “concerns” about the methods employed in several of the presentations and

that detransitioners would be involved. It defies logic that the only time methods are a “concern”

is when the results of the research raises questions about affirmative care. Furthermore, I am aware




                                                33
  Case 2:22-cv-00184-LCB-CWB Document 557-15 Filed 05/27/24 Page 37 of 109




of a number of presentations that have been accepted with the condition of making a small adjust-

ment. The detransitioners as discussants could have easily been replaced as their only role would

be to ask questions after the research was presented.

       101.    Dr. McGough indicates he took these concerns seriously. He referred concerned

parties to “Aron Janssen, co-chair [of] the AACAP committee charged with taking the lead on

trans issues.” Dr. McGough also noted that “Aron is also on the program committee.” As a program

committee member “taking the lead on trans issues,” Dr. Janssen would have significant power to

support or suppress presentations Those concerned with free exchange of scholarly ideas should

notice the words Dr. Janssen chose in his 2021 “Perspectives” article (Janssen 2021), where he

characterized legislative and political endeavors to limit medical care as “malicious changes” that

“provide fodder to perpetuate discrimination, fear, and exclusion.” He specifically states: “It is our

ethical responsibility to respond to this assault”.

       102.    Dr. Janssen characterizes those arguing for caution regarding gender affirmative

treatments as making “an effort to oppress.” In his report in this case, Dr. Janssen claims that

“[m]edical treatment for gender dysphoria has immense psychological benefits for youth, bringing

their mental health to a level similar to non-transgender peers” (P. 16). This uncited statement does

not square with the research and displays his willingness to exaggerate in a manner detached from

the evidence base.

       103.    For those not familiar with the proceedings of medical conferences, research sym-

posiums are eagerly sought out by the medical societies. The program chair, Dr. McGough, has

commented to me personally that research symposiums are by far the easiest type of presentation

to be accepted. For this same conference, I also submitted, with Drs. Kaltiala and Littman, a pro-

posal for a Special Interest Group presentation, which was to feature data on detransitioning. This




                                                  34
 Case 2:22-cv-00184-LCB-CWB Document 557-15 Filed 05/27/24 Page 38 of 109




proposal would have created a space for discussion of data that raised questions about affirmative

care. The proposal was also silenced.

       104.    For the October 2023 Conference, I offered Dr. Janssen the opportunity to be the

discussant for a Clinical Perspectives session entitled International Perspectives on Care for Gen-

der-Dysphoric Children & Adolescents. This presentation was to include researchers and clinicians

from England, Sweden, and Finland, as healthcare authorities in each of these nations have dra-

matically curbed the availability of gender affirming care for minors as a result of the systematic

reviews of the evidence they conducted. Dr. Janssen not only refused to participate, but he also

rejected the request to suggest another committee member to serve as discussant. As a replacement,

we submitted the proposed session with the past President of the American Academy of Pediatrics

serving as discussant. Again this presentation was denied.

       105.    Similarly, I also submitted for the AACAP 2023 conference a research symposium

with researchers from England, Sweden, and Finland: Epidemiology, Suicidality and co-morbidi-

ties of Gender Dysphoria, New International Findings. This presentation was similarly rejected.

       106.    Even more revealing, the AACAP March 18, 2022 press release reveals the leader-

ship’s strident position by remarking on an education bill, outside psychiatrists’ area of expertise.

(AACAP 2022). AACAP’s statement used politicized derogatory phrasing by calling Florida’s

legislation the “Don’t Say Gay or Trans” bill. The press release quotes the current president of

AACAP who demonizes supporters of the bill as unconscionable and implies that the supporters

“target and harm” LGBTQ+ youth.” The American Academy of Child and Adolescent Psychia-

try’s leadership moralizes the debate, uses polarizing language, and does not engage in forthright

discussion that must include skepticism, not just affirmation. Indeed, the AACAP has taken policy

positions on a wide range of political issues, including climate change (AACAP Mar. 2022), gun




                                                 35
 Case 2:22-cv-00184-LCB-CWB Document 557-15 Filed 05/27/24 Page 39 of 109




control (AACAP June 2022), immigration (AACAP Oct. 2021, AACAP May 2018, AACAP Sept.

2017), affirmative action (Brief for Amici Curiae Association of American Medical Colleges et al.

2022), and critical race theory (AACAP, proposal deadline June 1, 2023; AACAP Jan. 2023).

       C. American Psychological Association

       107.    The American Psychological Association has also taken seemingly contradictory

positions on brain development in the context of two political issues: transgender care and the

death penalty. The 2022 American Psychological Association Resolution on the Imposition of

Death as a Penalty for Persons Aged 18 Through 20, Also Known As the Late Adolescent Class

goes into significant detail regarding their position on brain immaturity through at least age 21:

          WHEREAS developmental neuroscience, including research on both the
          structure and function of brain development, establishes that significant mat-
          uration of the brain continues through at least age 20, especially in the key
          brain systems implicated in a person’s capacity to evaluate behavioral op-
          tions, make rational decisions about behavior, meaningfully consider the con-
          sequences of acting and not acting in a particular way, and to act deliberately
          in stressful or highly charged emotional environments, as well as continued
          development of personality traits (e.g., emotional stability and conscientious-
          ness) and what is popularly known as ‘character’.
I removed the many citations for clarity, but they can be found in the original document. The APA

Resolution continues:

       WHEREAS it is clear the brains of 18- to 20-year-olds are continuing to develop
       in key brain systems related to higher-order executive functions and self-control,
       such as planning ahead, weighing consequences of behavior, and emotional regu-
       lation. Their brain development cannot be distinguished reliably from that of 17-
       year-olds with regard to these key brain systems.
       128.    It is clear the American Psychological Association understands that the entire co-

hort of minors submitting to irreversible hormones and surgeries have under-developed abilities

to understand the risks and meaningfully consider the consequences. I agree with the American

Psychological Association that these deficits maintain up until at least age 21, and the courts should

take these impairments seriously in all contexts.



                                                 36
 Case 2:22-cv-00184-LCB-CWB Document 557-15 Filed 05/27/24 Page 40 of 109




       D. American Psychiatric Association

       108.    Political and social pressures are not new to this line of research and clinical care

and do not come from only one political pole or fraction of society. Yet especially within the last

decade, academia, including academic medicine has become more tribal, moralizing, and more

likely to attempt to silence divergent opinions (Bindewald 2021).

       109.    I witnessed these dynamics personally at the American Psychiatric Association

2022 annual conference. At the Clinical Perspective The Management of Adolescent Onset

Transgender Identity: Should “Best Practices” Change on May 24th 2022, there was a preamble.

In a practice I had never before seen at a conference, representatives from the American Psychiatric

Association who were monitoring the event were asked by leadership to read a statement prior to

presentation indicating the content of the presentation clashed with official proclamations of the

organization. During this Clinical Perspectives, four speakers presented convincing data and

opined that they questioned the evidence base and logic supporting current affirmative psycho-

therapy and medicalized practice regarding the treatment of transgender youth.

       110.    Most of the audience respectfully sat while enjoying the thoughtful presentation.

Yet a small crowd in the audience was disruptive. There were many interruptions of the presenta-

tion by a member of the crowd who repeatedly provided his input. During the question-and-answer

session, a series of “questions” were rather hostile ad-hominem statements towards the presenters.

Only a tiny fraction of the questions actually responded to any of the evidence or viewpoints pre-

sented. I have never previously observed any comparable unprofessional behavior or hostility to-

ward presenters in any medical or psychiatric conference.

       111.    The politicization of the American Psychiatric Association can also be seen in the

many political positions taken by the organization, including climate change (Ursano et al., n.d.),




                                                37
    Case 2:22-cv-00184-LCB-CWB Document 557-15 Filed 05/27/24 Page 41 of 109




firearms (Letter to Chairman Patrick Leahy 2022, American Psychiatric Association Aug. 2019),

affirmative action (Brief for Amici Curiae Association of American Medical Colleges et al. 2022),

immigration (American Psychiatric Association Stress & Trauma Toolkit.

        E. WPATH

        112.   The World Professional Association for Transgender Health (WPATH) is an inter-

national, multidisciplinary, professional association whose reported “mission is to promote evi-

dence-based care, education, research, public policy, and respect in transgender health.”3 WPATH

Standards of Care (SOC) documents share some features with what a medical organization would

call clinical practice guidelines. The 2011 edition of WPATH’s SOC documents are known as

SOC-7, and the 2022 version is SOC-8. The authors of SOC-8 state: “The overall goal of SOC-8

is to provide health care professionals (HCPs) with clinical guidance to assist [transgender and

gender-diverse] people in accessing safe and effective pathways to achieving lasting personal com-

fort with their gendered selves with the aim of optimizing their overall physical health, psycholog-

ical well-being, and self-fulfillment.”

        113.   Dahlen et al. reviewed WPATH SOC-7 as part of a systematic review and quality

assessment of international clinical practice guidelines for gender minority/trans people. They

noted that WPATH SOC-7 “contains no list of key recommendations nor auditable quality stand-

ards.” (Dahlen et al., 2021). Among the principal findings was that WPATH SOC 7 “cannot be

considered ‘gold standard.”’ The WPATH review scored poorly on editorial independence, ap-

plicability, and rigor of development. The review scored better on scope, stakeholder involvement,




3
    World Professional Association for Transgender Health, Mission                    and   Vision,
https://www.wpath.org/about/mission-and-vision (last accessed May 10, 2023).


                                                38
 Case 2:22-cv-00184-LCB-CWB Document 557-15 Filed 05/27/24 Page 42 of 109




and clarity of presentation. The reviewers noted that WPATH and other international clinical prac-

tice guidelines tended to prioritize stakeholder involvement rather than methodological rigor.

       114.    Among the implications were that “[c]linicians should be made aware that gender

minority/trans health [clinical practice guidelines] outside of HIV-related topics are linked to a

weak evidence base” and that “[o]rganizations producing guidelines and aspiring to higher-level

quality could use more robust methods, handling of competing interests and quality assessment.”

       115.    Despite the well-known methodological weakness to SOC-7, WPATH created

SOC-8 in a similar manner, only selectively using the conventions expected to create a trustworthy

clinical practice guideline. WPATH SOC 8 did not clearly document what reviews were attempted,

raising the possibility that reviews were stopped or buried upon unfavorable results. WPATH

SOC-8 obscures the most important element required for a trustworthy clinical practice guideline:

the assessment of the strength of the evidence used to make recommendations. Hiding the strength

of evidence hides critical data from readers trying to evaluate the evidence base for an organiza-

tion’s recommendations. (Murad 2017).

       116.    My analysis is supported by the British Medical Journal Investigations Unit’s re-

view of the evidence for transgender treatments, including the WPATH SOC-8. (Block 2023). The

British Medical Journal (BMJ) investigators interviewed Gordan Guyatt, M.D., an internationally

recognized leader on systematic reviews and, in fact, the co-developer and first author of the orig-

inal GRADE guidelines. BMJ also interviewed expert Mark Helfand, professor of medical infor-

matics and clinical epidemiology at Oregon Health and Science University. Helfand noted that

“WPATH’s recommendations lack a grading system to indicate the quality of the evidence—one

of several deficiencies.”




                                                39
 Case 2:22-cv-00184-LCB-CWB Document 557-15 Filed 05/27/24 Page 43 of 109




       117.    This same BMJ article highlighted transparency issues with the guidelines: “Both

Guyatt and Helfand noted that a trustworthy guideline would be transparent about all commis-

sioned systematic reviews: how many were done and what the results were.” But whereas SOC-8

claimed that the evidence was so limited regarding transitioning treatments for gender dysphoric

youth that “a systematic review regarding outcomes of treatment in adolescents is not possible,”

as Guyatt pointed out, “systematic reviews are always possible, even if few or no studies meet the

eligibility criteria.” (BMJ 2023).

       118.    While SOC-8 is beyond the scope of this report to review completely, I must note

four major concerns as a mental health professional:

           a. SOC-8 makes no analysis for why it prioritizes affirmation of gender identity over

               affirmation and acceptance of the physical sexed body. For clinicians and psycho-

               therapists, these trade-offs are complex matters in developing adolescents and fun-

               damental to treatment, yet SOC-8 treats the question as though it had a clear answer

               supported by the evidence: affirmation always. That is not the case.

           b. SOC-8 suggests consumer-driven medical and surgical interventions and deems

               these medically necessary without adequate supporting evidence. In no other field

               of medicine does a life-altering intervention become medically necessary based on

               the desire of the patient.

           c. SOC-8 normalizes self-mutilation via inclusion of “Eunuchs” as just another non-

               binary category without any suggestion that these individuals require mental health

               assessment prior to any consideration of chemical or surgical procedures.

           d. SOC-8 downplays concerns related to de-transitioning.




                                                40
 Case 2:22-cv-00184-LCB-CWB Document 557-15 Filed 05/27/24 Page 44 of 109




       119.    There have been a number of other episodes I have learned about that have caused

me to conclude that I do not feel comfortable relying on WPATH or its U.S. affiliate, USPATH,

to guide my care of gender dysphoric patients.

       120.    For instance, it appears there are calls for ideological hegemony at USPATH. Zan-

der Keig, a longstanding WPATH member and former chair of the USPATH advocacy committee,

related on a public podcast that he received a call from Dr. Joshua Safer, a WPATH board member,

former president of USPATH, and author of the 2017 Endocrine Society Guideline. (Heterodorx

2023). According to Keig, Keig had agreed to be an advisor to the Gender Dysphoria Alliance, an

organization composed of transgender people, detransitioners, and researchers that is “committed

to thoughtful and respectful dialogue” and hearing from multiple perspectives regarding gender

dysphoria. (Lisa Littman is also on the advisory board.) Presumably because the Gender Dysphoria

Alliance is not unquestioningly “affirming” in all circumstances, Dr. Safer asked Keig to resign

from USPATH or threatened to remove him as chair of the USPATH advocacy committee due to

advising the Gender Dysphoria Alliance. Keig also stated that Dr. Safer suggested that he (Keig)

lie about the reasons for resigning. This instance is illuminating on multiple grounds. First, silenc-

ing a member of USPATH and cleansing USPATH leadership of dissenters brings into question

the ethics and scientific integrity of Dr. Safer. This is made more concerning because Dr. Safer

was an author of the Endocrine Society Clinical Practice Guideline and other scientific research

articles promoting transgender care. Second, as in this episode Dr. Safer appears to be representing

the USPATH board, this demonstrates an institutional problem. WPATH and USPATH claim to

be open to scientific exchange and diversity of thought, but their leaders risk termination if they

are affiliated with a less politicized and ideological transgender group, such as the Gender Dys-

phoria Alliance.




                                                 41
 Case 2:22-cv-00184-LCB-CWB Document 557-15 Filed 05/27/24 Page 45 of 109




       121.    Similarly, USPATH has clearly become an uncomfortable place for clinicians or

researchers whose perspectives do not fall into a narrow ideological slice represented by USPATH

(Ciszek 2021). In 2016, for instance, renowned psychologist Kenneth Zucker had his USPATH

conference presentation drowned out by protestors because he had previously suggested that affir-

mation-only therapy could cause gender dysphoric children to “persist” when they would other-

wise have their gender dysphoria “desist.” After shutting down Dr. Zucker’s panel, the activists

made demands to the USPATH board, which subsequently removed Dr. Zucker from remaining

panels and apologized to the activists for allowing Zucker to attend the conference. The board thus

rewarded the activists who silenced scholarly debate.

       122.    Even prominent leaders at USPATH / WPATH like Laura Edwards-Leeper and

Erica Anderson have acknowledged that, as they titled their Nov. 24, 2021 Washington Post arti-

cle, “The Mental Health Establishment is Failing Trans Kids.” (Anderson 2021). USPATH and

WPATH responded to the article by releasing an Oct. 12, 2022 joint statement condemning “the

use of the lay press … as a forum for the scientific debate.” (WPATH/USPATH 2022). The board

of USPATH then privately censured Anderson, who later resigned as president. (Bazelon 2022).

       123.    Based on these and other public accounts, I conclude that USPATH and WPATH

are not scientific organizations that prioritize the search for truth and the safeguarding of vulnera-

ble children, but instead are organizations that seem to prioritize preserving their image and en-

forcing their advocacy positions.

       F. Endocrine Society

       124.    Similar to AACAP and AAP, it appears that the Endocrine Society also takes a

polarized position and misstates the strength of the evidence regarding “gender affirming care.” In

particular, the April 20, 2022, press release, “Endocrine Society Opposes Florida Department of




                                                 42
 Case 2:22-cv-00184-LCB-CWB Document 557-15 Filed 05/27/24 Page 46 of 109




Health Policy on Gender Dysphoria Treatment for Children and Adolescents,” reveals overstate-

ments of the strength of evidence and the false appearance of consensus in the medical community.

This statement mischaracterizes puberty delaying medication as a “safe, reversible and conserva-

tive approach.” This statement claims that attempts to restrict care are based on politics, rather than

acknowledging legitimate concerns. It is interesting that the organization cites the Endocrine So-

ciety’s own clinical practice guidelines. Endocrine Society’s guidelines themselves graded the

supporting evidence as low or very low quality for their clinical recommendations.

       125.    Another area of concern is the relationship between WPATH and Endocrine Soci-

ety. It appears that nine out of ten authors of the Endocrine Society Clinical Practice Guideline are

also WPATH leaders or authors. (Hembree 2017). This shows that a small number of physicians,

empowered by these organizations, can create the false impression of broad consensus through

campaigns of advocacy.

       126.    These professional organizations’ portrayal of medical interventions for gender

dysphoria as both effective and virtuous has had a chilling effect on scholarly dialogue regarding

gender dysphoria in the medical community.

       G. Medical Literature

       127.    Medical and psychiatric journals editors are surely aware of their affiliated profes-

sional organization’s policy statements and political advocacy. Since the Endocrine Society,

American Academy of Pediatrics, American Psychiatric Association, and American Academy of

Child and Adolescent Psychiatry have all been openly involved in political advocacy in support of

gender-affirming care, their journals are no longer scientifically neutral. This politicization is re-




                                                  43
 Case 2:22-cv-00184-LCB-CWB Document 557-15 Filed 05/27/24 Page 47 of 109




flected in the editors’ actions as medical and psychiatric journals have recently attempted to con-

solidate favorable opinion toward gender-affirming treatments for gender dysphoria rather than

promote open scholarly debate.

       128.    Not surprisingly, skeptical voices have been difficult to find within any of the jour-

nals of the Endocrine Society, American Academy of Pediatrics, American Psychiatric Associa-

tion, or American Academy of Child and Adolescent Psychiatry. Journal editors have wide discre-

tion to filter topics that are covered in their journals by choosing what articles are sent for review,

commentaries, clinical perspective, vetting Letters to the Editor, guiding what is included in the

book review column, and setting policies. It is curious that there has been minimal dialogue ex-

ploring the unanswered questions related to informed consent in medical journals associated with

medical organizations. Instead, these matters are left to be discussed disputed in academic journals

not affiliated with these organizations. (Latham 2022, Levine 2022).

       129.    The medical journal I follow most closely, The Journal of the American Academy

of Child and Adolescent Psychiatry, has only published articles seeking conformity of thought with

gender ideology and affirmative care and has not allowed actual scholarly dialogue to be voiced.

This can be seen across commentaries (Dixon 2022), clinical perspectives (Turban 2017, Turban

2018), and book reviews (Suto 2021, Chilton 2021, Kim 2021).

       130.    The 2017 Turban article, for instance, provided the perspectives of transgender and

gender nonconforming youth; reading that viewpoint can certainly be valuable for clinicians. Yet

most striking were the youth’s ideological assertions, misunderstanding of the evidence, and pleas

for their physicians to believe suppositions such as that “[s]exuality and gender are two different

things. TOTALLY separate” and “[p]uberty blockers and cross-sex hormones can save my life.”

It also contained a pressure to join the movement: “Let me know that you are on my team.” These




                                                  44
 Case 2:22-cv-00184-LCB-CWB Document 557-15 Filed 05/27/24 Page 48 of 109




youth somehow have gotten the impression there is no doubt regarding the safety and efficacy of

hormones and surgery. They also have the belief that changing society is the solution to their men-

tal health challenges: “If I am depressed or anxious, it’s likely not because I have issues with my

gender identity, but because everyone else does.” More striking was that the authors expressed

agreement with the youths’ ideology. The authors conclude: “Likely due to a combination of mi-

nority stress and dysphoria related to being ‘trapped in the wrong body,’ these young people are

disproportionately burdened by depression, anxiety, and suicide attempts.” The authors contend

depression, anxiety, and suicide attempts “likely” arise from minority stress and as a result of

gender dysphoria (Turban 2017). Yet as detailed throughout this report and cited, it appears more

likely that those with pre-existing psychological disturbance are more likely to later express gender

dysphoria. (Bechard 2017, Diaz 2023, Littman 2018, Kaltiala 2015, Moradini 2022).

       131.    The Journal of the American Academy of Child and Adolescent Psychiatry even

published a Commentary that pressured researchers to adopt progressive gender theories to “be-

come allies” (Dixon 2022). It is curious but revealing that the participants seemed uninterested in

core unanswered questions, such as why individuals experience themselves as nonbinary or

transgender. Conversely, the youth and authors used the commentary to push researchers to adopt

ideology and allyship. These pressures on scholars are antithetical to the scientific method and

have been a corrupting force in much recent research and academic dialogue regarding sex and

gender. This politicized, low-quality scholarship has minimal credibility and is a prime example

of how medical journals have prioritized advocacy and ideology over trustworthy science.

       132.    For example, with two child and adolescent psychiatric colleagues, in response to

Dixon et al., we wrote a Letter to the Editor of the Journal of the American Academy of Child and




                                                 45
 Case 2:22-cv-00184-LCB-CWB Document 557-15 Filed 05/27/24 Page 49 of 109




Adolescent Psychiatry discussing the problems with the article cited above; the journal editor re-

fused to even send this letter out for review.

       133.    Not only are the articles one sided, but the peer review process regarding gender

medicine within medical journals has become dysfunctional. Many recent examples show how

prominent medical journals ignore significant weakness in methods, allow erroneous conclusions,

and overstate the strength of the evidence when articles support affirmative care or related concepts

(Biggs 2020C), Deangelo 2021, Kalin 2020, Giovanelli R. 2022). A few years ago, for instance,

the Journal of the American Psychiatric Association published a study with an erroneous positive

conclusion regarding gender surgeries in Sweden. The article prompted a flurry of letters to the

editor that pointed out serious problems with the methodology and resulted in significant revision,

including to the study’s central finding (Bränström 2020).

       134.    As discussed above, in 2018, Lisa Littman published an article that revealed aspects

of the rapid spread of gender dysphoria in adolescents. After this research was peer reviewed and

published, the journal PLOS ONE had a re-editing of the publication with a commentary added.

(Littman 2019). This showed a disregard for the typical rules of scientific discourse because, im-

portantly, this was not a correction; there was no finding of error, misconduct, or faulty methods

with Littman’s original paper. As confirmed by the PLOS ONE re-review, Dr. Littman’s research

methods were unremarkable and comparable to other mental health research.

       135.    In her report, Dr. McNamara mislabels Littman’s study “discredited” and reiterates

spurious criticisms, such as criticizing the use of parent reports. At the same time, Dr. McNamara

does not disparage the work of Dr. Kristina Olson, but actively relies on it. But Dr. Olson used

only parent reports in her 2016 research article published in Pediatrics (the flagship journal of the




                                                 46
 Case 2:22-cv-00184-LCB-CWB Document 557-15 Filed 05/27/24 Page 50 of 109




American Academy of Pediatrics). In fact, Olson’s article was widely lauded, and Dr. Olson has

received a McArthur genius award for her work.

       136.    Further, given that Dr. McNamara claims that Littman used a questionable recruit-

ment sample, note that Dr. Olson’s Transyouth Project also used selective recruitment. This be-

comes extremely clear when you examine the income level of participants: 44% of families had a

household income greater than $125,000, while 36% were between $75,000-125,000. When you

consider that the 80th percentile of the US starts around $100 000, Olson’s convenience sample

clearly pulls from a highly privileged demographic (McKean 2016). Likewise, Dr. McNamara also

cites Turban (2022), who utilized the 2015 USTS, which in its own methods reports, “Transgender

adults ages 18 years or older were recruited in collaboration with over 400 community organiza-

tions.” (James 2016).

       137.    Precisely because of the data supporting for Littman’s theories of Rapid Onset Gen-

der Dysphoria, many advocates of medicalized treatment of youth with gender dysphoria appear

to have panicked in an attempt to suppress scientific exploration rather than reformulate their own

deeply held beliefs. McNamara echoes various journals that published articles deriding Dr.

Littman’s work, which resulted in her being personally harassed by activists. Brown University

also did not make any effort to defend Dr. Littman from attacks on her freedom to pursue science.

       138.    This antagonism of Dr. Littman was not about her methods, but rather that her data

indicated that gender dysphoria was spreading in a pattern consistent with social influence. The

affidavit of whistleblower Jamie Reed (Reed 2022) shows how this worked on a direct level in a

gender clinic: “Doctors at the Center would ignore and dismiss as social contagion the claims about

the tics and multiple personalities; but then those doctors would uncritically accept the children’s




                                                47
  Case 2:22-cv-00184-LCB-CWB Document 557-15 Filed 05/27/24 Page 51 of 109




statements about gender identity and place these children on puberty blockers and cross-sex hor-

mones.”

          139.   Similarly, clinicians at the Tavistock center, which before its closure was the

world’s biggest gender identity service, documented their own experience with similarly-named

“adolescent onset” gender dysphoria. This involves gender dysphoric patients presenting without

any noticeable symptom history prior to or during the early stages of puberty. (Hutchinson 2020).

They further note how clinicians around the world are witnessing the phenomenon they call “ado-

lescent onset gender dysphoria” and how unhelpful it is to suppress research or malign scholars

who bring uncomfortable facts to light: “Unless we are free to discuss, explore, and research dif-

ferential presentations of gender dysphoria, the range of interventions which might best serve each

young person may not be available to them. We do not think that this is good enough for our

patients.”

          140.   Dr. Littman’s other heresy was revealing how many parents perceive the gender-

affirming approach to be dysfunctional. (Littman 2018). Now a similar controversy is brewing

with another paper that provides data behind the ROGD concept, “Rapid Onset Gender Dysphoria:

Parent Reports on 1655 Possible Cases” (Diaz 2023). This research documents parent reports from

a convenience, non-neutral sample. Yet it explicitly discusses the disadvantages of such an ap-

proach and the rationale for publishing the data. Like Littman’s work, this data undermines theo-

ries that gender identity is primarily biologically based, a theory advocated by Dr. Janssen in his

report.




                                                48
 Case 2:22-cv-00184-LCB-CWB Document 557-15 Filed 05/27/24 Page 52 of 109




       141.      Research that runs counter to the prevailing orthodoxy causes panic among gender

ideologues and activist scholars. Again, a mob has arrived to attempt to undermine credible re-

search. This is an excerpt from the International Academy of Sex Research (IASR) list-serve in

response to the publication of the Diaz / Bailey article:

       Dear IASR members,
       In the interest of transparency, we want to communicate to the Membership about
       recent concerns regarding a publication in our official journal, the Archives of Sex-
       ual Behavior. On March 29th, the journal published an article authored by Suzanna
       Diaz & J. Michael Bailey entitled, “Rapid Onset Gender Dysphoria: Parent Reports
       on 1655 Possible Cases.” Since its publication, significant concerns about the ethi-
       cal conduct and integrity of the editorial process have been raised about this study.
       . . . [signed by] The IASR Executive Committee.
(Bailey 2023).
       142.      This focus on the “editorial process” only seems to go one way on this issue, against

exploration of the massive rise in gender dysphoria and against scholars like Dr. Bailey and es-

teemed editors like Kenneth Zucker.

       143.      There are many more examples of politicization squelching scholarly research.

This includes the firing and restricting of research data from Laura Favaro by City, University of

London as she attempts to research the perspective of academics with regard to gender issues. Ms.

Favaro appears to have found a culture of fear and suppression regarding gender issue. As a result,

this data is hidden and may never be revealed. (Sales 2023).

       144.      In February, UCLA researchers were forced by activists to pause or perhaps aban-

don their study because it aimed to expose transgender individuals to different views of them-

selves. The researchers “explained that ‘by demonstrating that body-self incongruence was linked

to brain structure and function, we aimed to help provide a biological basis and increase empathy

for the life stories of transgender individuals.” Yet the activists who helped shut down the research

revealed their disdain for this basic research because in their minds: “It is suggestive of a search




                                                  49
 Case 2:22-cv-00184-LCB-CWB Document 557-15 Filed 05/27/24 Page 53 of 109




for medical ‘cure,’ which can open the door for more gatekeeping and restrictive policies and

practices in relation to access to gender-affirming care.” (California LGBTQ HHS Network 2021).

       145.    Similar dynamics are in place even in newsletters. A colleague told me about a

difficult experience with editors of the American Academy of Psychiatry and the Law Newsletter.

The editors would not permit him to describe in his article the actual problematic behaviors of

youth who declared themselves to be transgender in his inpatient unit. This silencing of actual

clinical situations undermines the exchange of ideas on how to best provide clinical care.

       146.    Open inquiry is the ability to ask questions and share ideas without risk of censure.

It is fundamental to medical research and scientific progress. Within medicine, the ability for con-

structive disagreement and the expression of divergent opinions has withered with regards to ques-

tions of biological sex, gender, and gender medicine.

       147.    Complex ethical issues regarding treatment of gender dysphoria deserve attention.

Yet pressures to accept affirmation treatment as being the most virtuous and only effective ap-

proach discourages good faith scholarly dialogue. Furthermore, the characterization of those who

oppose gender affirming care as transphobic or hateful has been used to justify silencing scholars

whose data or logic does not support the gender-affirming approach. This occurred with Lisa

Littman. Former sex researchers have left the field due to the harassment and intellectual bullying

they received (Soh 2021).

       148.    My personal interactions with many thoughtful well-regarded psychiatrists display

a full range of views. In my experience, most child and adolescent psychiatrists consider automatic

affirmation inappropriate, even though many are willing to use affirmative approaches selectively.

(Evans 2021). Most psychiatrists are willing to admit we don’t have enough research to really

know how to proceed.




                                                50
 Case 2:22-cv-00184-LCB-CWB Document 557-15 Filed 05/27/24 Page 54 of 109




       149.    Within medicine and academia, we need to create space to allow input from those

who hold the opinion that logic and the evidence base do not support using the “gender affirming

care” model to treat gender dysphoria. We require a frank discussion of the moral issues involved,

including moral hazards associated with medical treatments for gender dysphoria. Currently, I see

little evidence of this sort of scholarly dialogue happening.

     HOW ADVOCACY UNDERMINES SCIENTIFIC DISCUSSION AT MEDICAL
                        ORGANIZATIONS

       150.    The major medical organizations involved with promoting “gender affirming care”

have relinquished their former role of curators of neutral science with regards to gender dysphoria.

They have adopted unproven theories, become advocacy organizations, and have used their pres-

tige to support their approved opinions and ideology. They have made public statements dismiss-

ing or even demonizing scholars who raise concerns. It cannot be seen as a coincidence that

whereas there is serious debate throughout society and throughout the globe, little to none is to be

found at the Endocrine Society, the American Psychiatric Association, the American Academy of

Child and Adolescent Psychiatry, the American Academy of Pediatrics, or WPATH. Even more

concerning, their respective journal editors, as shown, have also chosen advocacy over science.

       151.    These advocates convinced the medical leadership to support affirming care in large

part by framing medicalized treatments for gender dysphoria as “rights” and “discrimination” is-

sues rather than an examination of evidence. This moralized and tribalized gender medicine and

thereby stifled open exchange and silenced skepticism within medical journals. As these medical

organizations put their prestige and influence behind this type of care, those overseeing conference

programs, newsletters, and press statements and the editors of journals systematically distorted

scholarly dialogue by promoting medical interventions. Moralizing and advocacy silenced con-

cerned physicians, but most didn’t even know their organizations had staked out such extreme



                                                 51
 Case 2:22-cv-00184-LCB-CWB Document 557-15 Filed 05/27/24 Page 55 of 109




stances. Thus, the members of these professional medical organizations have never had an oppor-

tunity to observe, or participate in, open and honest dialogue regarding the evidence for

transgender care. As such, the positions of these organizations reflect mostly a tribal mentality and

the politicization of gender affirming care. It does not reflect the views of members who have had

a sober review of the evidence base and decided celebratory support of gender affirming care is

warranted.

       152.    I offer three examples of the kinds of discussions that should be occurring with

frequency in the medical organizations with regard to how best to treat young people suffering

from gender dysphoria, but sadly are not.

       A. Psychotherapy

       153.    Patients presenting with gender dysphoria have real symptoms, typically with other

comorbid mental health disorders. These patients require validation and support. I recommend

their mental health treatment start with psychosocial supports and psychotherapy (Schwartz 2021).

In psychiatry, we typically refer to other providers such as social workers, psychologists, and li-

censed clinical therapists, who tend to provide the bulk of psychotherapy. Despite this, as noted in

my background, I have extensive experience with psychotherapy and received additional training

in a number of psychotherapies (talk therapies) including Cognitive Therapy, Rational Emotion

Behavior Therapy, and Trauma-Focused Cognitive Behavioral Therapy. I also have training and

experience in meditation and mind-body techniques including mindfulness meditation, trauma fo-

cused yoga, and Accelerated Resolution Therapy. It should also be noted I trained under and

worked for over a decade with former AACAP president Martin Drell, MD, who was intimately

involved in training at LSU and ensured my training emphasized psychodynamic therapy and fam-

ily therapy. Doctor Drell is well known as an eminent psychotherapist among child and adolescent




                                                 52
  Case 2:22-cv-00184-LCB-CWB Document 557-15 Filed 05/27/24 Page 56 of 109




psychiatrists. Not only do I have experience with psychotherapies, I have been teaching them to

medical students, psychiatry resident and supervising residents’ psychotherapy for years. This

background and experience distinguishes me from the majority of psychiatrists.

        154.    Quality psychotherapy includes the process of exploring patient life history, emo-

tions, coping style, and thought patterns. This includes validating how patients feel, but it also

includes teaching patients to not be guided solely by their feelings. Psychotherapy involves getting

patients to recognize their own thought patterns, disturbed emotions, and, when appropriate, in-

cludes challenging irrational, self-defeating, and harmful beliefs.

        155.    There is not an evidence base to support strictly “affirmative” psychotherapy for

gender dysphoria, where therapists actively agree with a patient’s self-assessment. Automatically

agreeing with patient viewpoints is a radical departure from traditional mental health treatments

and psychotherapy. Psychiatrists do not “affirm” hopelessness in depression, delusions in schizo-

phrenia, or distorted body image in anorexia or body dysmorphic disorder. The similarities be-

tween body dysmorphic disorder and gender dysphoria, and the contrast in how they are ap-

proached, provide significant evidence of how ideological and political forces have influenced

medical practice (Kohls 2022).

        156.    Is it, for example, sensible, compassionate, or good medical practice to, for in-

stance, soon after a sexual assault, automatically agree with a teen’s new self-assigned gender

label? What about when a nine-year-old girl who spontaneously says, “I feel like I am a boy”—do

we immediately ask what boy name to call the child?

        157.    In psychotherapy with a patient with gender dysphoria, the therapist should neither

advise a patient to change a gender identity nor “agree” that a patient is the opposite sex. It is surely

reasonable and compassionate for a psychotherapist to prefer a patient no longer to suffer with




                                                   53
 Case 2:22-cv-00184-LCB-CWB Document 557-15 Filed 05/27/24 Page 57 of 109




gender dysphoria. It would be inappropriate for a mental health professional to prefer gender dys-

phoria to continue. Yet, the false binary of affirmative psychotherapy versus conversion therapy

for gender dysphoria is being used to push therapists from any consideration that acceptance of

one’s biological sex or resolution of gender dysphoria is a positive event.

       158.    This categorizing of quality psychotherapy as conversion therapy is a serious mis-

understanding of the complexities of ethical and effective psychotherapy (Schwartz 2021, D’An-

gelo 2021). The term “conversion therapy” is often misused by the supporters of affirmative care

as an attempt to devalue and pathologize approaches other than purely affirming a patient’s gender

self-identification (Griffin 2021, Evans 2020). The only conversion therapy which has ever been

researched is the attempt to change, or convert, sexual orientation. Such conversion therapy is

widely discredited, which is perhaps why lodging accusations of conversion therapy has been so

effective at creating an all-or-nothing atmosphere concerning “gender affirming care.”

       159.    In his report Dr. Janssen claims that “[g]ender identity has a biological basis and

cannot be altered through medical or psychological interventions. The evidence demonstrating that

gender identity cannot be altered, either for transgender or for non-transgender individuals, under-

scores the innate nature of gender identity.” (p. 5-6). Yet Dr. Janssen fails to provide the reference

to any studies backing up this claim of innate nature or biological basis. This broad claim might

be more accurate for childhood onset gender dysphoria (i.e., children who experience gender dys-

phoria from a young age like 3 or 4). Yet, when this cohort reaches puberty, experiencing natural

puberty typically leads gender identity to change, as most go on to be same-sex attracted and cis-

gender. Dr. Janssen’s claim is even more spurious when examining the late childhood and adoles-

cent onset of transgender identity. This is a much larger cohort, and gender identity already did

change for them, as they were not transgender from early childhood. This cohort typically had




                                                 54
 Case 2:22-cv-00184-LCB-CWB Document 557-15 Filed 05/27/24 Page 58 of 109




emotional and psychological problems but no signs of transgender orientation during childhood

(Holt 2016, Kaltiala 2015, Bechard 2017, Hutchinson 2020, Daiz 2023, Littman 2018). Further-

more, this later onset female cohort identity is the largest group in treatment. Data from Tavistock

clinic shows that as levels of psychopathology of new intakes increased the percentage of pre-

pubertal onset natal females decreased. In 2012 this natal female pre-pubertal cohort was 7.3%

and declined to only 4.8% of in 2015 (Morandini 2022). For natal females from 2012 to 2015

mood problems went from 39% to 60%, anxiety increased from 23% to 44%, and autism spectrum

disorders increased from 10% to 15%. This was all in a context when the same cohort actually

reported less bullying and abuse. This surge in patients with higher degrees of psychopathology

and later-onset presentation has also been documented elsewhere (Holt 2016, Kaltiala 2015). All

these factors make the most likely reality that in our current culture we are siphoning gender non-

conforming youth with emotional problems into medicalized treatments for gender dysphoria.

       160.    Gender identity is often described as fluid, and as this implies, often changes over

time, particularly in young people. Dr. Janssen does not explain how gender is both fluid and

biologically determined, nor what studies he believe resolves this paradox. This gender fluidity is

also why it is unwise to affirm a declared gender identity in a child. Psychotherapists need space

to ask questions about gender identity. Exploring gender identity is not conversion therapy.

       161.    Time-tested and widely effective psychotherapy approaches include supportive

therapy or cognitive behavioral therapy. Cognitive behavioral therapy has proven effective for

virtually every mental health condition it has been researched for, including the full range of anx-

iety disorders, depressive and mood disorders, disturbed anger, sleep disturbance and trauma re-

actions including Post Traumatic Stress Disorder. Due to the high levels of comorbidity of psychi-

atric disorders in patients with gender dysphoria, cognitive behavioral therapy could be extremely




                                                55
  Case 2:22-cv-00184-LCB-CWB Document 557-15 Filed 05/27/24 Page 59 of 109




helpful as the same approach and techniques have proven effective with so many problems includ-

ing anxiety and depression and in reducing self-harm.

          162.   Any psychotherapy should aim to help individuals gain a deeper understanding of

themselves, develop coping skills, and provide a neutral, unbiased process. Beyond standard psy-

chotherapies, more specific and nuanced approaches for gender dysphoria exist, such as Explora-

tory Therapy (https://genderexploratory.com/). This “talking therapy” allows time for exploration

of mental health concerns without pushing an ideological or political agenda.

          163.   Advocates of affirmative treatment and their dismissal of other approaches can be

especially harmful in the cases of gender dysphoria presenting in the context of severe pre-existing

psychiatric illness. Psychotherapy could lead to the resolution of these comorbid illnesses. I can

provide three examples.

          164.   Trauma: There is longstanding psychiatric literature showing that exposure to sex-

ual trauma can lead to changes in gender expression (Cosentino 1993), and this has also been

revealed by recent research on detransitioners (Littman 2021). A recent review on Dissociative

Identity Disorder and co-occurring gender dysphoria showed frequent childhood sexual abuse

(Soldati 2022). Thus, a child’s gender expression can be a reaction to trauma rather than an intrin-

sic identity to be strictly “affirmed.” This is what is termed diagnostic “overshadowing” in the

Cass Interim Report of the United Kingdom’s review of services for gender dysphoric youth: “An-

other significant issue raised with us is one of diagnostic overshadowing—many of the children

and young people presenting have complex needs, but once they are identified as having gender-

related distress, other important healthcare issues … can sometimes be overlooked” (Cass 2022,

p. 17).




                                                 56
 Case 2:22-cv-00184-LCB-CWB Document 557-15 Filed 05/27/24 Page 60 of 109




       165.    Thus, rather than allowing clinicians flexibility to proceed as longstanding clinical

wisdom would dictate, advocates of affirmative treatment discourage discussion of the relationship

between trauma and gender dysphoria. This affirmative model pressures clinicians to steer away

from exploration whether a trauma reaction is the primary problem.

       166.    Relatedly, a core feature of Post-Traumatic Stress Disorder (PTSD) is avoidance,

and in some patients, adoption of a transgender identity may be a method to avoid addressing the

suffering caused by a trauma, such as a sexual assault. While this avoidance may temporarily block

some negative feelings, in the long run continued avoidance can lead to terrible consequences, and

a failure to resolve the trauma reaction. Repeatedly patients have described to me their physical

and emotional distress when they are exposed to trauma reminders. Thus, they frequently have

difficulty engaging in psychotherapy for PTSD. Even if they participate, they often actively avoid

discussing their trauma. All these struggles to get patients engaged in the best treatment is unfor-

tunate as trauma focused therapies such as Trauma Focused Cognitive Behavioral Therapy have

an excellent evidence base.

       167.    The massive rise in expressions of gender dysphoria has been most pronounced in

adolescent females. This is a population where assessment for and treatment of trauma should be

a top priority. Furthermore, based on the link between sexual abuse and gender dysphoria seen in

detransitioners, assessment and treatment of trauma symptoms should be prioritized. It is possible

that for many patients the delivery of trauma-based psychotherapy may cause the desistence of

gender dysphoria, which in some cases could be considered a co-occurring disorder related to the

trauma.




                                                57
 Case 2:22-cv-00184-LCB-CWB Document 557-15 Filed 05/27/24 Page 61 of 109




       B. Autism

       168.    Autism Spectrum Disorders are neurodevelopment disorders. People with Autism

Spectrum Disorder by definition have problems with social communication and interaction along

with restricted or repetitive behaviors or interests. People with Autism Spectrum Disorders are

consistently shown to be at increased risk for developing gender dysphoria (Cooper 2022). One

review found gender dysphoria to be over four times as likely in patients with Autism Spectrum

Disorders (Hisle-Gorman et al. 2019). Another review found that compared to typically developing

controls, autistic adults who endorsed the wish to be the opposite sex were found to have more

mental health challenges, bullying, suicidal ideation, and worse quality of life. They also had worse

autism symptoms and more co-morbid disorders than autistic adults who did not report the wish

to be the opposite sex.

       169.    Autistic people experiencing gender dysphoria are a complex patient cohort. There

is limited evidence of how best to help and support this specific population. Due to the neurocog-

nitive limitations in patients with Autism Spectrum Disorders, they may be more suggestible. Au-

tistic patients struggle socially and often spend large amounts of time online. Due to their rigid and

obsessive thought patterns, if they develop gender dysphoria, they can become fixated and preoc-

cupied with receiving hormonal or surgical procedures, whether or not they understand the risks.

Adolescent patients with Autism Spectrum Disorder can be incredibly insistent, single minded,

and determined. They also may have limited insight and minimal ability to anticipate the negative

consequences of obtaining the object of their obsessions. Until more is known about the specific

outcome related to this vulnerable population, caution with any clinical approach is warranted.




                                                 58
 Case 2:22-cv-00184-LCB-CWB Document 557-15 Filed 05/27/24 Page 62 of 109




       C. Borderline Personality Disorder

       170.    Personality Disorders are enduring patterns of inner experience and behavior that

deviate from expected and cause distress and impairment in functioning. The epidemiology of

personality disorders in individuals with gender dysphoria is unknown, and estimates vary (Fur-

long 2022). Many estimates have the population extremely increased, such as 50% of adults, but

others show smaller increases. One review of emergency room visits of transgender patients with

diagnosed personality disorders at 4%, versus matched community sample of 1%. The hospitalized

sample was at 5% among transgender patients versus 2% in controls (Lam 2021). Little scholarly

guidance exists regarding specific approaches related to the various personality disorders with

comorbid gender dysphoria.

       171.    In Borderline Personality Disorder there is, by definition, an unstable sense of self,

and this leads to frequent personality changes. This typically means sudden shifts in employment,

relationship, sexual identity, frequent moves, and changes in types of friends. Patients with Bor-

derline Personality Disorder often have early-life trauma and find many social environments in-

validating. Patients with Borderline Personality Disorder have high levels of emotional dysregu-

lation, self-harm, and substance use. This population is extremely difficult to treat.

       172.    With an unstable sense of self being a feature of the disorder, this patient population

seems an especially poor candidate for affirming treatments, especially irreversible treatments.

There are two psychotherapeutic approaches that have shown significant success. The most estab-

lished is Dialectical Behavioral Therapy (Gillespie 2022), but Mentalization Base Therapy (Vogt

2019) also has significant evidence as a successful approach.

       173.    Especially for a young person developing signs of Borderline Personality Disorder,

starting these proven approaches as early as possible is their best chance of avoiding a life course




                                                 59
 Case 2:22-cv-00184-LCB-CWB Document 557-15 Filed 05/27/24 Page 63 of 109




full of emptiness, struggle, and suffering. Again, in this patient population, a focus on gender-

affirming treatments as the solution to this constellation of serious mental health problems is ex-

tremely problematic, and appears likely to cause harm if it delays access to evidenced based treat-

ments.

         174.   Yet in his report, Dr. Janssen (p. 15-16) suggests “treating the underlying gender

dysphoria is essential to alleviating the psychological distress associated with co-occurring condi-

tions.” Prioritizing the gender identity over other co-morbidities has no empirical basis and likely

leads to other conditions being untreated—again, what Dr. Cass calls “diagnostic overshadowing.”

(Cass 2022, p. 17). Treating these other conditions entails minimal risk and does not require life-

long alteration of one’s body.

                                          CONCLUSION

         175.   It is a scientific and medical consensus that patients with gender dysphoria typically

also have a mix of anxiety, depression, self-harm, personality disorders, neurodevelopmental dis-

orders, and trauma-related symptoms. These mental health problems generally pre-date or co-oc-

cur with the development of gender dysphoria.

         176.   There is not a scientific or medical consensus that comorbid mental health disorders

are due to “untreated” gender dysphoria, although this “minority stress” theory is frequently cited

and goes along with the social justice ideology frequently exposed by advocates of gender affirm-

ing care. These same advocates of affirming care claim that medical transition, and only medical

transition, will resolve these youth’s mental health problems.

         177.   Depression and anxiety in adolescents often relate to social struggles and these gen-

erally predate the emergence of gender dysphoria. Autism is primarily a social disorder. Many




                                                 60
 Case 2:22-cv-00184-LCB-CWB Document 557-15 Filed 05/27/24 Page 64 of 109




child psychiatrists have expressed to me their experience that patients expressing a transgender or

non-binary orientation have tended to struggle socially prior to declaring this orientation.

       178.    When claims are made that there exists a scientific and medical consensus support-

ing gender-affirming care for gender dysphoria, this rests on the assertions of a small group of

physicians who are already personally invested in this type of care. Those already providing hor-

mones and surgeries have extremely powerful reasons to want to believe affirmative care is effec-

tive, and thus they are biased. I know psychiatrists involved in this type of care, and they are smart,

compassionate physicians. I have no doubt they have received significant positive feedback from

patients and families. This is consistent with multiple studies showing short-term benefit in mood

and social dysphoria from affirming treatment.

       179.    For many reasons, the “gender experts” are not neutral observers. When aligned

with economic and ideological forces, a small group of physicians can wield disproportionate in-

fluence. The modern medical system does make serious mistakes at scale. We should be taking a

cautious approach and encouraging rigorous open scholarly dialogue. Physicians who doubt the

merits of affirmative gender care should be able to speak freely, without being attacked as immoral,

and their warnings about medical interventions for minors should be heeded.

       180.    Psychotherapy is a valid alternative mental health approach to medicalized treat-

ments for gender dysphoria in youth. Existing psychotherapeutic approaches have already shown

effectiveness at treating anxiety, depression, PTSD, Borderline Personality Disorder, which are

frequent co-morbidities. These established approaches could be augmented with more recently

developed techniques including mindfulness-based therapies, mind-body techniques, and specific

exploratory therapies.




                                                  61
Case 2:22-cv-00184-LCB-CWB Document 557-15 Filed 05/27/24 Page 65 of 109
 Case 2:22-cv-00184-LCB-CWB Document 557-15 Filed 05/27/24 Page 66 of 109




                                         REFERENCES

        Abbruzzese, E., Levine, S. B., & Mason, J. W. (2022). The Myth of “Reliable Research”

in Pediatric Gender Medicine: A critical evaluation of the Dutch Studies—and research that has

followed. Journal of Sex & Marital Therapy, 1-27.

        Adams, J., Bledsoe, G. H., & Armstrong, J. H. (2016). Are pain management questions in

patient satisfaction surveys driving the opioid epidemic?. American journal of public health,

106(6), 985.

        Afkhami A., et al. (2022). Spinning lobotomy: A conventional content analysis of articles

by the pioneers of the procedure in the United States. Mental Health, Vol. 2, 2022, 100123.

        Allison, S., Warin, M., & Bastiampillai, T. (2014). Anorexia nervosa and social contagion:

clinical implications. Australian & New Zealand Journal of Psychiatry, 48(2), 116-120.

        American Academy of Child & Adolescent Psychiatry, (March 18, 2022) Florida’s “Don’t

Say      Gay    or     Trans”    Law      Stigmatizes       LGBTQ+       Youth     and   Families

https://www.aacap.org/AACAP/zLatest_News/Floridas_Dont_Say_Gay_or_Trans_Law_Stigma-

tizes_LGBTQ_Youth_Families.aspx.

        American Academy of Child & Adolescent Psychiatry and American Medical Association

Amicus               Curiae            Miller             V.            Alabama.           (2012)

https://www.aacap.org/App_Themes/AACAP/docs/Advocacy/amicus_curiae/miller_vs_ala-

bama_and_jackson_vs_hobbs_amici_brief.pdf.

        American Academy of Child & Adolescent Psychiatry, press release (March 1, 2022).

AACAP Statement Opposing Actions in Texas Threatening the Health, Mental Health and Well-

Being     of    Transgender     and     Gender        Diverse   Youth    and     Their   Families,




                                                 63
 Case 2:22-cv-00184-LCB-CWB Document 557-15 Filed 05/27/24 Page 67 of 109




https://www.aacap.org/AACAP/zLatest_News/AACAP_Statement_Opposing_Ac-

tions_in_Texas.aspx.

         American Academy of Child & Adolescent Psychiatry, AACAP Calls for Swift Congres-

sional     Passage     of    the   “Dream    Act”,   press   release   (May    21,    2018),

https://www.aacap.org/aacap/Press/Press_Releases/Press-Releases-2018/Congressional-Passage-

Dream-Act

         American Academy of Child & Adolescent Psychiatry, AACAP Resource Library on

Youth at the Border (Oct. 2021), https://www.aacap.org/AACAP/Families_and_Youth/Re-

source_Libraries/Youth_Border.aspx.

         American Academy of Child & Adolescent Psychiatry, AACAP Statement on DACA Re-

cission (Sept. 2017), https://www.aacap.org/AACAP/Press/Press_Releases/2017/AACAP-State-

ment-on-DACA-Rescission.aspx.

         American Academy of Child & Adolescent Psychiatry, Anti-Racism Resource Library

(Jan.    2023),      https://www.aacap.org/AACAP/Families_and_Youth/Resource_Libraries/Rac-

ism_Resource_Library.aspx.

         American Academy of Child & Adolescent Psychiatry, Climate Change and Eco-Anxiety

in Youth (Mar. 2022), https://www.aacap.org/AACAP/Families_and_Youth/Facts_for_Fami-

lies/FFF-Guide/Climate_Change_Eco-Anxiety_Youth-137.aspx.

         American Academy of Child & Adolescent Psychiatry, Policy Statement on children and

Guns (updated June. 2022), https://www.aacap-pac.com/aacap/Policy_Statements/2022/Chil-

dren_and_Guns.aspx#:~:text=To%20help%20prevent%20firearm%20re-

lated,threat%20of%20personal%20violence%20exists.




                                              64
 Case 2:22-cv-00184-LCB-CWB Document 557-15 Filed 05/27/24 Page 68 of 109




       American Academy of Pediatrics et al. (February 14, 2017). Leading Pediatric Medical

Organizations Respond to Recent Executive Orders Impacting Immigrants and Refugees,

https://www.abp.org/sites/abp/files/pdf/immigration_eo_statement.pdf.

       American Academy of Pediatrics (May 2, 2022). American Academy of Pediatrics Calls

for   Elimination   of   Race-Based         Medicine,   https://www.aap.org/en/news-room/news-re-

leases/aap/2022/American-academy-of-pediatrics-calls-for-elimination-of-race-based-medicine/.

       American Academy of Pediatrics (Sept. 9, 2022). Statement from the American Academy

of Pediatrics and the Oklahoma Chapter of the American Academy of Pediatrics on Gender-Af-

firming Care, https://www.aap.org/en/news-room/news-releases/aap/2022/statement-from-the-

american-academy-of-pediatrics-and-the-oklahoma-chapter-of-the-american-academy-of-pediat-

rics-on-gender-affirming-care/.

       American Academy of Pediatrics Board of Directors, (2020). Truth, Reconciliation, and

Transformation: Continuing on the Path to Equity. Pediatrics 146 (3): e2020019794.

https://doi.org/10.1542/peds.2020-019794.

       American Psychiatric Association, APA Joins Call to Action to Prevent Firearm-Related

Injury and Death (Aug. 6, 2019), https://www.psychiatry.org/news-room/news-releases/apa-joins-

call-to-action-to-prevent-firearm-relate.

       American Psychiatric Association, (last accessed May 18, 2023). Stress & Trauma Toolkit

for Treating Undocumented Immigrants in a Changing Political and Social Environment,

https://www.psychiatry.org/psychiatrists/diversity/education/stress-and-trauma/undocumented-

immigrants.

       Anderson, E. & Edwards-Leeper, L., The mental health establishment is failing trans kids,

Wash. Post, Nov. 24, 2021.




                                                  65
 Case 2:22-cv-00184-LCB-CWB Document 557-15 Filed 05/27/24 Page 69 of 109




       Association of American Medical Colleges et al. (filed July 28, 2022). Brief for Amici

Curiae in Support of Respondents, Students for Fair Admissions v. President and Fellows of Har-

vard College, Students for Fair Admissions v. University of North Carolina, Nos. 20-1199 & 21-

707.

       Bailey, J.M., Why is my gender research being cancelled? UnHerd, May 16, 2023,

https://unherd.com/2023/05/why-is-my-gender-research-being-cancelled/.

       Barnes, Hannah. (2023). Time to Think: The Inside Story of the Collapse of the Tavistock’s

Gender Service for Children.

       Bazelon, E., The Battle Over Gender Therapy, N.Y. Times, June 15, 2022, https://www.ny-

times.com/2022/06/15/magazine/gender-therapy.html.

       Bechard M. et al. (2017). Psychosocial and Psychological Vulnerability in Adolescents

with Gender Dysphoria: A “Proof of Principle” Study. Journal of Sex & Marital Therapy, 43(7),

678–688.

       Biggs 2022

              A – Biggs, M., “Turban et al.’s incredible assumptions about sex,” journal contri-

       bution to Pediatrics, rejected, https://figshare.com/articles/journal_contribution/Tur-

       ban_et_al_s_incredible_assumptions_about_sex/20436189/1.

              B – Biggs, M., Suicide by clinic-referred transgender adolescents in the United

       Kingdom. Archives of sexual behavior, 51(2), 685-690.

              C – Biggs, M., The Dutch protocol for Juvenile transsexuals: Origins and evidence.

       Journal of sex & marital therapy, 1-21.




                                                 66
 Case 2:22-cv-00184-LCB-CWB Document 557-15 Filed 05/27/24 Page 70 of 109




       Bindewald, B., & Hawkins, J. (2021). Speech and inquiry in public institutions of higher

education: Navigating ethical and epistemological challenges. Educational Philosophy and The-

ory, 53(11), 1074-1085.

       Block, J. (2023). Gender Dysphoria in young people is rising—and so is professional dis-

agreement. BMJ, 380.

       Bränström, R., & Pachankis, J. E. (2020). Reduction in mental health treatment utilization

among transgender individuals after gender-affirming surgeries: a total population study. Ameri-

can journal of psychiatry, 177(8), 727-734.

       Braslow J. Mental ills and bodily cures: Psychiatric treatment in the first half of the twen-

tieth century. University of California Press; 1997.

       Brignardello-Peterson, R., & Wiercioch, W. (2022). Effects of gender affirming therapies

in people with gender dysphoria: Evaluation of the best available evidence. Agency for Health

Care Administration Florida Medicaid Generally Accepted Professional Medical Standards Deter-

mination on the Treatment of Gender Dysphoria Attachment C. Retrieved Aug, 2, 2022.

       California LGBTQ Health and Human Services Network (2021). Advocacy for TGI Re-

search Participants, https://californialgbtqhealth.org/advocacy-for-tgi-research-participants/.

       Cantor, J. M. (2020). Transgender and gender diverse children and adolescents: fact-check-

ing of AAP policy. Journal of sex & marital therapy, 46(4), 307-313.

       Cass, H. (2022). Independent review of gender identity services for children and young

people: Interim report. The Cass Review. https://cass.independent-review.uk/wp-content/up-

loads/2022/03/Cass-Review-Interim-Report-Final-Web-Accessible.pdf.

       Ceci, S. J., & Friedman, R. D. (2000). The suggestibility of children: Scientific research

and legal implications. Cornell L. Rev., 86, 33.




                                                   67
 Case 2:22-cv-00184-LCB-CWB Document 557-15 Filed 05/27/24 Page 71 of 109




       Chang, J. C., Lai, M. C., Tai, Y. M., & Gau, S. S. F. (2022). Mental health correlates and

potential childhood predictors for the wish to be of the opposite sex in young autistic adults. Au-

tism, 26(1), 146-159.

       Chen, D., Berona, J., Chan, Y. M., Ehrensaft, D., Garofalo, R., Hidalgo, M. A., ... & Olson-

Kennedy, J. (2023). Psychosocial Functioning in Transgender Youth after 2 Years of Hormones.

New England Journal of Medicine, 388(3), 240-250.

       Chilton, J. (2021) Being Trans-parent, Journal of the American Academy of Child & Ad-

olescent Psychiatry, Vol. 60, Issue 6, 783.

       Christakis NA, Fowler JH. Social contagion theory: examining dynamic social networks

and human behavior. Stat Med. 2013 Feb 20;32(4):556-77. doi: 10.1002/sim.5408. Epub 2012 Jun

18. PMID: 22711416; PMCID: PMC3830455.

       Ciszek, E., Mocarski, R., Price, S., & Almeida, E. (2021). Discursive stickiness: Affective

institutional texts and activist resistance. Public Relations Inquiry, 10(3), 295-310.

       Clayton 2022

               A – Clayton, A. (2022). The gender affirmative treatment model for youth with

       gender dysphoria: A medical advance or dangerous medicine?. Archives of Sexual Behav-

       ior, 51(2), 691-698.

               B – Clayton, A. (2022). Gender-affirming treatment of gender dysphoria in youth:

       A perfect storm environment for the placebo effect—the Implications for research and clin-

       ical practice. Archives of Sexual Behavior, 1-12.

       Cohen, A. Imbeciles: The Supreme Court, American Eugenics, and the Sterilization of

Carrie Buck 66 (2016).




                                                 68
 Case 2:22-cv-00184-LCB-CWB Document 557-15 Filed 05/27/24 Page 72 of 109




       Cooper, K., Mandy, W., Butler, C., & Russell, A. (2023). Phenomenology of gender dys-

phoria in autism: a multiperspective qualitative analysis. Journal of Child Psychology and Psychi-

atry, 64(2), 265-276.

       Cosentino, C. E., Meyer-Bahlburg, H.F., Alpert, J. L., & Gaines, R. (1993). Cross-gender

behavior and gender conflict in sexually abused girls. Journal of the American Academy of Child

& Adolescent Psychiatry, 32(5), 940-947.

       Cosgrove, L., Bursztajn, H. J., Krimsky, S., Anaya, M., & Walker, J. (2009). Conflicts of

interest and disclosure in the American Psychiatric Association’s Clinical Practice Guidelines.

Psychotherapy and Psychosomatics, 78(4), 228-232.

       Council on Environmental Health et al., (2015). Global Climate Change and Children’s

Health. Pediatrics 136 (5): 992–997. https://doi.org/10.1542/peds.2015-3232.

       D’Angelo, R., Syrulnik, E., Ayad, S., Marchiano, L., Kenny, D. T., & Clarke, P. (2021).

One size does not fit all: In support of psychotherapy for gender dysphoria. Archives of Sexual

Behavior, 50(1), 7-16.

       Dahlen, S., et al. (2021). International clinical practice guidelines for gender minority/trans

people: Systematic review and quality assessment. BMJ open, 11(4), e048943.

       Diamanti-Kandarakis, E., Bourguignon, J. P., Giudice, L. C., Hauser, R., Prins, G. S., Soto,

A. M., & Gore, A. C. (2009). Endocrine-disrupting chemicals: an Endocrine Society scientific

statement. Endocrine reviews, 30(4), 293-342.

       Dhejne C, Lichtenstein P, Boman M, Johansson AL, Långström N, Landén M. Long-term

follow-up of transsexual persons undergoing sex reassignment surgery: cohort study in Sweden.

PLoS One. 2011;6(2):e16885.




                                                 69
 Case 2:22-cv-00184-LCB-CWB Document 557-15 Filed 05/27/24 Page 73 of 109




       Diaz, S., & Bailey, J. M. (2023). Rapid Onset Gender Dysphoria: Parent Reports on 1655

Possible Cases. Archives of Sexual Behavior, 1-13.

       Dixon, M. et al., Let’s Talk Gender: Ten Things Transgender and Nonbinary Youth Want

All Researchers to Know Journal of the American Academy of Child & Adolescent Psychiatry,

Vol. 61, Issue 8, 960 – 96 (2022)

       Djulbegovic, B., Guyatt, G. H., & Ashcroft, R. E. (2009). Epistemologic inquiries in evi-

dence-based medicine. Cancer control, 16(2), 158-168.

       Dooley DG, Rhodes H, Bandealy A. Pandemic Recovery for Children—Beyond Reopen-

ing Schools. JAMA Pediatr. 2022;176(4):347–348. doi:10.1001/jamapediatrics.2021.3227.

       Endocrine Society, press release (Apr. 2022). Endocrine Society opposes Florida Depart-

ment of Health policy on gender dysphoria treatment for children and adolescents, https://www.en-

docrine.org/news-and-advocacy/news-room/2022/endocrine-society-opposes-florida-department-

of-health-policy-on-gender-dysphoria-treatment.

       Evans, M. (2021). Freedom to think: the need for thorough assessment and treatment of

gender dysphoric children. BJPsych bulletin, 45(5), 285-290.

       Freeman, W. (1954). Transorbital lobotomy in state mental hospitals. The Journal of the

Medical Society of New Jersey, 51(4), 148-150.

       French National Academy of Medicine, Press release, (Feb. 25, 2022). Medicine and gen-

der transidentity in children and adolescents, https://www.academie-medecine.fr/la-medecine-

face-a-la-transidentite-de-genre-chez-les-enfants-et-les-adolescents/?lang=en.

       Furlong, Y., & Janca, A. (2022). Epidemiology of personality disorders in individuals with

gender dysphoria. Current Opinion in Psychiatry, 35(1), 78-82.




                                               70
  Case 2:22-cv-00184-LCB-CWB Document 557-15 Filed 05/27/24 Page 74 of 109




        Gauld, C., Espi, P., Revol, O., & Fourneret, P. (2022). Explanatory hypotheses of the ecol-

ogy of new clinical presentations of Dissociative Identity Disorders in youth. Frontiers in Psychi-

atry, 13.

        Gehring, D., & Knudson, G. (2005). Prevalence of childhood trauma in a clinical popula-

tion of transsexual people. International Journal of Transgenderism, 8(1), 23-30.

        Gerwin, R. L., Kaliebe, K., & Daigle, M. (2018). The interplay between digital media use

and development. Child and Adolescent Psychiatric Clinics, 27(2), 345-355.

        Gillespie, C., Murphy, M., & Joyce, M. (2022). Dialectical Behavior Therapy for Individ-

uals With Borderline Personality Disorder: A Systematic Review of Outcomes After One Year of

Follow-Up. Journal of Personality Disorders, 36(4), 431-454.

        Giovanelli, L., & Quinton, R. (2022). Letter to the Editor from Giovanelli and Quin-

ton:“Erythrocytosis in a Large Cohort of Trans Men Using Testosterone: a Long-Term Follow-up

Study on Prevalence, Determinants, and Exposure Years”. The Journal of Clinical Endocrinology

& Metabolism, 107(1), e440-e441.

        Giedinghagen, A. (2022). The tic in TikTok and (where) all systems go: Mass social media

induced illness and Munchausen’s by internet as explanatory models for social media associated

abnormal illness behavior. Clinical child psychology and psychiatry, 13591045221098522.

        Goldacre, B. (2014). Bad pharma: how drug companies mislead doctors and harm patients.

Macmillan.

        Goldet, G., & Howick, J. (2013). Understanding GRADE: an introduction. Journal of Ev-

idence‐Based Medicine, 6(1), 50-54.




                                                71
 Case 2:22-cv-00184-LCB-CWB Document 557-15 Filed 05/27/24 Page 75 of 109




       Gonzalez, M., Pascoe, M. C., Yang, G., de Manincor, M., Grant, S., Lacey, J., ... & Sarris,

J. (2021). Yoga for depression and anxiety symptoms in people with cancer: a systematic review

and meta‐analysis. Psycho‐Oncology, 30(8), 1196-1208.

       Griffin, L., Clyde, K., Byng, R., & Bewley, S. (2021). Sex, gender and gender identity: a

re-evaluation of the evidence. BJPsych Bulletin, 45(5), 291-299.

       Haltigan, J. D., Pringsheim, T. M., & Rajkumar, G. (2023). Social media as an incubator

of personality and behavioral psychopathology: Symptom and disorder authenticity or psychoso-

matic social contagion?. Comprehensive Psychiatry, 121, 152362.

       Hembree, W., Cohen-Kettenis, P. T., Gooren, L., Hannema, S. E., Meyer, W. J., Murad,

M. H & T’Sjoen, G. G. (2017). Endocrine treatment of gender-dysphoric/gender-incongruent per-

sons: an endocrine society clinical practice guideline. The Journal of Clinical Endocrinology &

Metabolism, 102(11), 3869-3903.

       Henrich J & Muthukrishna M. The Origins and Psychology of Human Cooperation,; An-

nual Review of Psychology 2021 72:1, 207-240.

       Heterodorx, Incorrigible? with Zander Keig, Apr. 21, 2023 (minute 39:40-41:00),

https://podcasters.spotify.com/pod/show/heterodorx/episodes/Incorrigible--with-Zander-Keig-

e22qhr3/a-a9n76p3.

       Hisle-Gorman, E., Landis, C. A., Susi, A., Schvey, N. A., Gorman, G. H., Nylund, C. M.,

& Klein, D. A. (2019). Gender dysphoria in children with autism spectrum disorder. LGBT health,

6(3), 95-100.

       Holt V, Skagerberg E, Dunsford M. Young people with features of gender dysphoria: De-

mographics      and   associated   difficulties.   Clinical   Child   Psychology   and   Psychiatry.

2016;21(1):108-118.




                                                   72
 Case 2:22-cv-00184-LCB-CWB Document 557-15 Filed 05/27/24 Page 76 of 109




       Hopcroft, K. (2018). Effectiveness of antidepressants—should we rethink treatment dura-

tion?. bmj, 361.

       Horesh D, Hasson-Ohayon I, Harwood-Gross A. The Contagion of Psychopathology

across Different Psychiatric Disorders: A Comparative Theoretical Analysis. Brain Sciences.

2022; 12(1):67. https://doi.org/10.3390/brainsci12010067.

       Hutchinson, A., Midgen, M., & Spiliadis, A. (2020). In support of research into rapid-onset

gender dysphoria. Archives of Sexual Behavior, 49(1), 79-80.

       James, S.E. et al. (2016). “The Report of the 2015 U.S. Transgender Survey,” National

Center for Transgender Equality, https://transequality.org/sites/default/files/docs/usts/USTS-Full-

Report-Dec17.pdf.

       Janssen, A., Voss, R., & Written on behalf of the Gender Development Program at the Ann

and Robert H. Lurie Children's Hospital of Chicago. (2021). Policies sanctioning discrimination

against transgender patients flout scientific evidence and threaten health and safety. Transgender

Health, 6(2), 61-63.

       Jarvi, S., Jackson, B., Swenson, L., & Crawford, H. (2013). The impact of social contagion

on non-suicidal self-injury: A review of the literature. Archives of Suicide Research, 17(1), 1-19.

       Jiang, J., Ren, X., & Ferrara, E. (2021). Social media polarization and echo chambers in

the context of COVID-19: Case study. JMIRx med, 2(3), e29570.

       Journal of the American Academy of Child & Adolescent Pediatrics, Call for Papers on

the Effects of Race, Racism, Social Justice, and Health Equity in Child and Adolescent Psychiatry

(proposal deadline June 1, 2023), https://www.jaacap.org/call_for_submissions_effects_of_rac-

ism.




                                                73
 Case 2:22-cv-00184-LCB-CWB Document 557-15 Filed 05/27/24 Page 77 of 109




       Kaliebe, K. E. (2016). The future of psychiatric collaboration in federally qualified health

centers. Psychiatric Services, 67(8), 827-829.

       Kaliebe, K. E. (2017). Expanding our reach: Integrating child and adolescent psychiatry

into primary care at federally qualified health centers. Journal of the American Academy of Child

& Adolescent Psychiatry.

       Kaliebe, K., & Sondheimer, A. (2002). The media: relationships to psychiatry and children:

a seminar. Academic Psychiatry, 26(3), 205-215.

       Kaliebe, K., & Weigle, P. (2018). Child Psychiatry in the Age of the Internet. Child and

Adolescent Psychiatric Clinics, 27(2), xiii-xv.

       Kaltiala-Heino, R., Sumia, M., Työläjärvi, M. et al. Two years of gender identity service

for minors: overrepresentation of natal girls with severe problems in adolescent development.

Child Adolesc. Psychiatry Ment. Health 9, 9 (2015).

       Kaltiala-Heino, R., Työläjärvi, M., & Suomalainen, L. (2020). Adolescent development

and psychosocial functioning after starting cross-sex hormones for gender dysphoria. Nordic jour-

nal of psychiatry, 74(3), 213-219.

       Kennedy F., (July 1942). The Problem of Social Control of the Congenital Defective, 99

The        American         Journal       of           Psychiatry    13,       https://ajp.psychia-

tryonline.org/doi/epdf/10.1176/ajp.99.1.13.

       Kerr, J., Panagopoulos, C., & van der Linden, S. (2021). Political polarization on COVID-

19 pandemic response in the United States. Personality and individual differences, 179, 110892.

       Kim, H (2021) Pediatric Gender Identity: Gender-affirming Care for Transgender and Gen-

der Diverse Youth. Journal of the American Academy of Child & Adolescent Psychiatry, Vol. 60,

Issue 6, 785 - 787




                                                  74
 Case 2:22-cv-00184-LCB-CWB Document 557-15 Filed 05/27/24 Page 78 of 109




       Kohls, G., & Roessner, V. (2022). Editorial Perspective: Medical body modification in

youth with gender dysphoria or body dysmorphic disorder–is current practice coherent and evi-

dence‐based?. Journal of Child Psychology and Psychiatry.

       Latham, A. (2022). Puberty blockers for children: can they consent?. The new bioethics,

28(3), 268-291.

       Lemke, A (2016) Drug Dealer, MD: How Doctors Were Duped, Patients Got Hooked, and

Why It’s So Hard to Stop, Johns Hospkins University Press

       Lett, E., Everhart, A., Streed, C., & Restar, A. (2022). Science and Public Health as a Tool

for Social Justice Requires Methodological Rigor. Pediatrics, 150(6).

       Letter to Chairman Patrick Leahy (April 28, 2022), https://higherlogicdownload.s3.ama-

zonaws.com/AANNET/c8a8da9e-918c-4dae-b0c6-6d630c46007f/UploadedImages/GVP_Re-

search_Funding_Letter_FY2023_Final.pdf.

       Levine, S. B., Abbruzzese, E., & Mason, J. W. (2022). Reconsidering informed consent for

trans-identified children, adolescents, and young adults. Journal of Sex & Marital Therapy, 48(7),

706-727.

       Littman, L. (2018). Parent reports of adolescents and young adults perceived to show signs

of a rapid onset of gender dysphoria. PLOS One, 13(8), e0202330.

       Littman, L. (2019). Correction: Parent reports of adolescents and young adults perceived

to show signs of a rapid onset of gender dysphoria. PLOS ONE 14(3): e0214157.

       Littman, L. (2021). Individuals treated for gender dysphoria with medical and/or surgical

transition who subsequently detransitioned: A survey of 100 detransitioners. Archives of Sexual

Behavior, 50(8), 3353-3369.




                                               75
 Case 2:22-cv-00184-LCB-CWB Document 557-15 Filed 05/27/24 Page 79 of 109




       Luhrmann, T. M. (2001). Of two minds: The growing disorder in American psychiatry.

Alfred A. Knopf.

       Maccoby, E. E. (1998). The two sexes: Growing up apart, coming together (Vol. 4). Har-

vard University Press.

       Macy, M., Deri, S., Ruch, A., & Tong, N. (2019). Opinion cascades and the unpredictabil-

ity of partisan polarization. Science advances, 5(8), eaax0754.

       Mandell, B. F. (2016). The fifth vital sign: A complex story of politics and patient care.

Cleveland Clinic journal of medicine, 83(6), 400-401.

       Marianowicz-Szczygiel, A. (2022). Rise of gender identity disorders among children and

adolescents-data from 10 countries. Kwartalnik Naukowy Fides et Ratio, 49(1), 122-141.

       Mason, Julia and Sapir, Leor. The American Academy of Pediatrics’ Dubious Transgender

Science, Wall Street Journal, Aug. 17, 2022

       McCormack, J., & Korownyk, C. (2018). Effectiveness of antidepressants. BMJ, 360.

       Morandini J.S., Kelly A., de Graaf N.M., Carmichael P., Dar-Nimrod I. (2022). Shifts in

demographics and mental health co-morbidities among gender dysphoric youth referred to a spe-

cialist gender dysphoria service. Clinical Child Psychology and Psychiatry. 27(2):480-491.

       Morandini JS, Kelly A, de Graaf NM, Malouf P, Guerin E, Dar-Nimrod I, Carmichael P.

(2023). Is Social Gender Transition Associated with Mental Health Status in Children and Ado-

lescents with Gender Dysphoria? Arch. Sex. Behav. 52(3):1045-1060.

       Mularski R. et al. (2006). Measuring pain as the 5th vital sign does not improve quality of

pain management. Journal of General Internal Medicine, 21(6), 607–12, doi: 10.1111/j.1525-

1497.2006.00415.x.




                                                76
 Case 2:22-cv-00184-LCB-CWB Document 557-15 Filed 05/27/24 Page 80 of 109




       Murad, M. H. (2017). Clinical practice guidelines: a primer on development and dissemi-

nation. In Mayo Clinic Proceedings, Vol. 92, No. 3, pp. 423-433.

       National Board of Health and Welfare (NBHW), Care of Children and Adolescents with

Gender Dysphoria, Sweden, 2022, https://www.socialstyrelsen.se/globalassets/sharepoint-doku-

ment/artikelkatalog/kunskapsstod/2022-3-7799.pdf.

       NICE (2020). Evidence review: Gender-affirming hormones for children and adolescents

with gender dysphoria. Downloaded from https://cass.independent-review.uk/wp-content/up-

loads/2022/09/20220726_Evidence-review_Gender-affirming-hormones_For-upload_Final.pdf.

       Noelle-Neumann, E. (1974). “The Spiral of Silence A Theory of Public Opinion.” Journal

of Communication 24(2): 43-51.

       Olson, K. R., Durwood, L., DeMeules, M., & McLaughlin, K. A. (2016). Mental health of

transgender children who are supported in their identities. Pediatrics, 137(3).

       Otgaar, H., Howe, M. L., & Patihis, L. (2022). What science tells us about false and re-

pressed memories. Memory, 30(1), 16-21.

       PALKO / COHERE, Finland, (2020). Medical treatment methods for dysphoria associated

with variations in gender identity in minors – recommendation, https://palveluvalikoima.fi/docu-

ments/1237350/22895008/Summary_minors_en+(1).pdf/fa2054c5-8c35-8492-59d6-

b3de1c00de49/Summary_minors_en+(1).pdf?t=1631773838474.

       Peters, U. (2020). What is the function of confirmation bias?. Erkenntnis, 1-26.

       Pringsheim, T., et al. (2021). Rapid onset functional tic‐like behaviors in young females

during the COVID‐19 pandemic. Movement Disorders, 36(12), 2707.

       Rafferty, J. (2018). Ensuring Comprehensive Care and Support for Transgender and Gen-

der-Diverse Children and Adolescents. Pediatrics. Vol. 142(4).




                                                77
  Case 2:22-cv-00184-LCB-CWB Document 557-15 Filed 05/27/24 Page 81 of 109




        Reed (2022) Jamie Reed affidavit downloaded from:

https://ago.mo.gov/docs/default-source/press-releases/2-07-2023-reed-affidavit---signed.pdf.

        Regnerus, M., & Vermurlen, B. (2022). Attitudes in the US Toward Hormonal and/or Sur-

gical Interventions for Adolescents Experiencing Gender Dysphoria. Archives of Sexual Be-hav-

ior, 1-12.

        Rettew, D.C. (2022). Internet Inspired Self-Diagnosis: A New Phenomenon Calling for an

Old Approach, JAACAP Connect, 35.

        Reyes, M. M., Panza, K. E., Martin, A., & Bloch, M. H. (2011). Time-lag bias in trials of

pediatric antidepressants: a systematic review and meta-analysis. Journal of the American Acad-

emy of Child & Adolescent Psychiatry, 50(1), 63-72.

        Robertson, L. R. From Paralysis to Fatigue: A History of Psychosomatic Illness in the

Modern Era by Edward Shorter New York: Free Press/Macmillan, 1992, xii+ 419 pp..

        Rogers R., et al., Psychosocial Aspects of Nuclear Developments, American Psychiatric

Association (1982), https://www.psychiatry.org/File Library/Psychiatrists/Directories/Library-

and-Archive/task-force-reports/tfr1981_Nuclear.pdf.

        Royal Australian and New Zealand College of Psychiatrists, Recognizing and addressing

the mental health needs of people experiencing Gender Dysphoria / Gender Incongruence. Au-

gust 2021, Position statement 103, https://www.ranzcp.org/news-policy/policy-and-advocacy/po-

sition-statements/gender-dysphoria.

        Rufalo, M. (2019). The Fall of Psychoanalysis in American Psychiatry. Psychology Today,

retrieved at: https://www.psychologytoday.com/us/blog/freud-fluoxetine/201912/the-fall-psycho-

analysis-in-american-psychiatry.




                                               78
 Case 2:22-cv-00184-LCB-CWB Document 557-15 Filed 05/27/24 Page 82 of 109




       Sales, D., “Feminist academic says university 'confiscated' her study on Britain's gender

wars, banned her from publishing 'dangerous' findings and hounded her out of a job - as she brings

discrimination claim against bosses,” DailyMail.com, Apr. 17, 2023, https://www.dai-

lymail.co.uk/news/article-11980541/Feminist-academic-says-university-confiscated-study-Brit-

ains-gender-wars.html?fbclid=IwAR2b9m3h6NX_QNhcZgWbYfYK_tGq-GwiAqaLbGm.

       Schwartz, D. (2021). Clinical and ethical considerations in the treatment of gender dys-

phoric children and adolescents: When doing less is helping more. Journal of Infant, Child, and

Adolescent Psychotherapy, 20(4), 439-449.

       Shan, Z., Rehm, C. D., Rogers, G., Ruan, M., Wang, D. D., Hu, F. B., ... & Bhupathiraju,

S. N. (2019). Trends in dietary carbohydrate, protein, and fat intake and diet quality among US

adults, 1999-2016. Jama, 322(12), 1178-1187.

       Shorter Edward, From Paralysis to Fatigue: A History of Psychosomatic Illness in the Mod-

ern Era, 1993.

       Sievert, E. D., Schweizer, K., Barkmann, C., Fahrenkrug, S., & Becker-Hebly, I. (2021).

Not social transition status, but peer relations and family functioning predict psychological func-

tioning in a German clinical sample of children with gender dysphoria. Clinical Child Psychology

and Psychiatry, 26(1), 79–95.

       Sismondo S. (2008). Pharmaceutical company funding and its consequences: a qualitative

systematic review. Contemporary Clinical Trials, 29(2), 109–13.

       Soh, D. (2021). The end of gender: Debunking the myths about sex and identity in our

society. Simon and Schuster.




                                                79
 Case 2:22-cv-00184-LCB-CWB Document 557-15 Filed 05/27/24 Page 83 of 109




       Soldati, L., Hasler, R., Recordon, N., Clement, M., Köhl, J., & Perroud, N. (2022). Gen-

der dysphoria and dissociative identity disorder: a case report and review of literature. Sexual

Medicine, 10(5), 100553.

       Steensma, T.D., Cohen-Kettenis, P.T. Gender Transitioning before Puberty?. Arch Sex Be-

hav 40, 649–650 (2011).

       Su, Y., Borah, P., & Xiao, X. (2022). Understanding the “infodemic”: social media news

use, homogeneous online discussion, self-perceived media literacy and misperceptions about

COVID-19. Online Information Review.

       Sun, R., Zhu, H., & Guo, F. (2022). Impact of content ideology on social media opinion

polarization: The moderating role of functional affordances and symbolic expressions. Decision

Support Systems, 113845.

       Sunstein, Cass R. (2009). "Some Effects of Moral Indignation on Law" (PDF). Vermont

Law Review. Vermont Law School. 33 (3): 405–434. Retreived 4/28/2023 at https://web.ar-

chive.org/web/20110610021623/http://lawreview.vermontlaw.edu/articles/3/12%20Sun-

stein%20Book%203%2C%20Vol.%2033.pdf.

       Suto D. (2021). Found in Transition: A Mother's Evolution During Her Child's Gender

Change Journal of the American Academy of Child & Adolescent Psychiatry, Vol. 60, Issue 6,

783–785.

       Szolin, K., Kuss, D. J., Nuyens, F. M., & Griffiths, M. D. (2023). “I am the character, the

character is me”: A thematic analysis of the user-avatar relationship in videogames. Computers in

Human Behavior, 107694.

       Szilagyi, M.D. Academy of Pediatrics Responds on Trans Treatment for Kids, Aug. 21,

2022 Wall Street Journal.




                                               80
 Case 2:22-cv-00184-LCB-CWB Document 557-15 Filed 05/27/24 Page 84 of 109




       Trent M., et al. (2019). The impact of racism on child and adolescent health. Pediatrics.

2019;144(2):e20191765.

       Turban, J. et al. (2018) Dynamic Gender Presentations: Understanding Transition and “De-

Transition” Among Transgender Youth Vol. 57, Issue 7, 451 – 453.

       Turban, J. et al. (2017). Ten Things Transgender and Gender Nonconforming Youth Want

Their Doctors to Know. Journal of the American Academy of Child & Adolescent Psychiatry, Vol.

56, Issue 4, 275 – 277.

       Turner E. et al. (2008). Selective Publication of Antidepressant Trials and Its Influence on

Apparent Efficacy. New England Journal of Medicine, 358:252-260.

       Ursano R., et al., Resource Document on Mental Health and Climate Change, American

Psychiatric Assocation (n.d.), https://www.psychiatry.org/FileLibrary/Psychiatrists/Directo-

ries/Library-and-Archive/resource_documents/2017-Resource-Document-Mental-Health-Cli-

mate-Change.pdf.

       USPATH & WPATH, Joint Letter from USPATH and WPATH (Oct. 12, 2021)

https://www.wpath.org/media/cms/Documents/Public%20Poli-

cies/2021/Joint%20WPATH%20USPATH%20Letter%20Dated%20Oct%2012%202021.pdf.

       Van der Kolk, B. A. (1994). The body keeps the score: Memory and the evolving psycho-

biology of posttraumatic stress. Harvard review of psychiatry, 1(5), 253-265.

       Vogt, K. S., & Norman, P. (2019). Is mentalization‐based therapy effective in treating the

symptoms of borderline personality disorder? A systematic review. Psychology and Psychothera-

py: Theory, Research and Practice, 92(4), 441-464.

       Vrouenraets, L. J. J. J., Hartman, L. A., Hein, I. M., de Vries, A. L., de Vries, M. C., &

Molewijk, B. A. (2020). Dealing with moral challenges in treatment of transgender children and




                                               81
 Case 2:22-cv-00184-LCB-CWB Document 557-15 Filed 05/27/24 Page 85 of 109




adolescents: evaluating the role of Moral Case Deliberation. Archives of sexual behavior, 49,

2619-2634.

       Weaver, L. L., & Darragh, A. R. (2015). Systematic review of yoga interventions for anx-

iety reduction among children and adolescents. The American Journal of Occupational Therapy,

69(6), 6906180070p1-6906180070p9.

       Weigle, Paul, Psychoeducation or Psychiatric Contagion? Social Media and Self-Diagno-

sis, May 8, 2023, Psychiatric Times, Vol 40, Issue 5, available online at https://www.psychiatric-

times.com/view/psychoeducation-or-psychiatric-contagion-social-media-and-self-diagnosis.

       Wolfe J. (Nov. 2, 2012). Medical Groups Worry That Ruling Could Threaten Physician

Diversity,              Psychiatric               News,               https://psychnews.psychia-

tryonline.org/doi/full/10.1176/pn.47.21.psychnews_47_21_14-b.

       Wong, W. I., van der Miesen, A. I., Li, T. G., MacMullin, L. N., & VanderLaan, D. P.

(2019). Childhood social gender transition and psychosocial well-being: A comparison to cis-

gender gender-variant children. Clinical Practice in Pediatric Psychology, 7(3), 241–253.

       Yıldız, M., Orak, U., Walker, M. H., & Solakoglu, O. (2019). Suicide contagion, gender,

and suicide attempts among adolescents. Death studies, 43(6), 365-371.

       Zucker, K. J. (2019). Adolescents with gender dysphoria: Reflections on some contempo-

rary clinical and research issues. Archives of Sexual Behavior, 48(7), 1983-1992.

       Zucker, K. J. (2020). Debate: Different strokes for different folks. Child and adolescent

mental health, 25(1), 36-37.




                                               82
 Case 2:22-cv-00184-LCB-CWB Document 557-15 Filed 05/27/24 Page 86 of 109




                                       PUBLICATIONS

                                    Kristopher Kaliebe, M.D.

         Kaliebe, Kristopher and Adrian Sondheimer. “The media: Relationships to psychiatry and

children.” Academic Psychiatry 26.3 (2002): 205-215.

         Kaliebe, Kristopher "Rules of thumb: three simple ideas for overcoming the complex

problem of childhood obesity." Journal of the American Academy of Child & Adolescent Psychi-

atry 53.4 (2014): 385-387.

         Kaliebe, Kristopher. “Dr Kaliebe Replies”, Journal of the American Academy of Child

& Adolescent Psychiatry, (2014) 53:10 1134.

         Kaliebe, Kristopher “The Future of Psychiatric Collaboration in Federally Qualified

Health Centers.” Psychiatric Services (2016): appi-ps.

         Kaliebe, Kristopher, and Josh Sanderson. “A Proposal for Postmodern Stress Disorder.”

The American journal of medicine 129.7 (2016): e79.

         Osofsky, Howard J., Anthony Speier, Tonya Cross Hansel, John H. Wells II, Kristopher

E. Kaliebe, and Nicole J. Savage. “Collaborative Health Care and Emerging Trends in a Commu-

nity-Based Psychiatry Residency Model.” Academic Psychiatry (2016): 1-8.

         Yeh, Y. Y. and K. Kaliebe. “Impact of Nutrition on Neurocognition.” Southern medical

journal 109.8 (2016): 454.

         K. Kaliebe Expanding Our Reach: Integrating Child and Adolescent Psychiatry Into Pri-

mary Care at Federally Qualified Health Centers. J Am Acad Child Adolesc Psychiatry. 56.11

(2017)

         Kiss, R. and Kaliebe, K., Stress and Inflammation: New Perspectives on Major Depres-

sive Disorder. JAACAP Connect, p.22. Winter 2020




                                               83
 Case 2:22-cv-00184-LCB-CWB Document 557-15 Filed 05/27/24 Page 87 of 109




        Tamburello, A., Penn, J., Negron-Muñoz, R., & Kaliebe, K. (2023). Prescribing Psycho-

tropic Medications for Justice-Involved Juveniles. Journal of Correctional Health Care.



       Books, Textbook Chapters:

        Weigle, P., Kaliebe, K., Dalope, K., Asamoah, T., & Shafi, R. M. A. (2021). 18 Digital

Media Use in Transitional-Age Youth: Challenges and Opportunities. Transition-Age Youth Men-

tal Health Care: Bridging the Gap Between Pediatric and Adult Psychiatric Care, 357.



       Invited Publications

        “Telepsychiatry in Juvenile Justice Settings”, K Kaliebe, J Heneghan, T Kim, Child and

Adolescent Clinics of North America, 20 (2011) 113-123

        American Academy of Child and Adolescent Psychiatry (AACAP) Committee on

Telepsychiatry and AACAP Committee on Quality Issues. Clinical Update: Telepsychiatry With

Children and Adolescents. J Am Acad Child Adolesc Psychiatry. 2017 Oct; 56(10):875-893. Epub

2017 Jul 25. PMID: 28942810.

        Kaliebe, Kristopher and Paul Weigle. “Child Psychiatry in the Age of the Internet.”

(2017). Child and Adolescent Psychiatric Clinics of North America, April 2018, Vol. 27, Issue 2,

Pages xiii–xv

        Gerwin, Roslyn L., Kristopher Kaliebe, and Monica Daigle. “The Interplay Between

Digital Media Use and Development.” Child and Adolescent Psychiatric Clinics 27.2 (2018): 345-

355.




                                               84
Case 2:22-cv-00184-LCB-CWB Document 557-15 Filed 05/27/24 Page 88 of 109




                           CURRICULUM VITAE

                      Kristopher Edward Kaliebe, MD
                                 Associate Professor
      University of South Florida, Morsani College of Medicine, Tampa Florida

 Address
               Psychiatry and Behavioral Neurosciences
               3515 E. Fletcher Avenue, MDC 14
               Tampa FL 33613
               Office: 813974-5460
               kkaliebe@usf.edu

 Citizenship
               United States

 Education

 Graduate/Medical: St. George’s University
 School of Medicine, Grenada, West Indies
 Medical Doctor                                          January 1995- June 1999

 Undergraduate: Columbia College,
 Columbia University
 New York, NY,
 Bachelor of Arts, Biochemistry                          September 1988-May 1992

 Postgraduate Training

 Clinical Fellowships:
 Fellow, Forensic Psychiatry (PGY6)
 Louisiana State University Medical Center
 1542 Tulane Ave., New Orleans, LA 70112                 July 2004 to June 2005

 Fellow, Child and Adolescent Psychiatry (PGY 4-5)
 Louisiana State University Medical Center
 1542 Tulane Ave., New Orleans, LA 70112                 July 2002 to June 2004

 Chief Resident in Child and Adolescent Psychiatry
    • Acted as liaison between Child Psychiatry Fellows and Administration
    • Coordinated with Program Director lecture and rotation schedules
                                                         July 2003 to June 2004

 Residency:
 Resident, Psychiatry (PGY 2-3)
                                             1
Case 2:22-cv-00184-LCB-CWB Document 557-15 Filed 05/27/24 Page 89 of 109




 University of Medicine and Dentistry-
 New Jersey Medical School
 185 S Orange Ave, Newark, NJ 07103                        July 2000- June 2002

 Internship: (PGY 1)
 University of Medicine and Dentistry-
 New Jersey Medical School
 185 S Orange Ave, Newark, NJ 07103                        July 1999- June 2000

 Diplomate, American Board of Psychiatry and Neurology:

    •   Board Certification in General Psychiatry, awarded 2004, active

    •   Specialty Board Certification Child and Adolescent Psychiatry, awarded 2005,
        active

    •   Specialty Board Certification Forensic Psychiatry, awarded 2007, active


 Awards, Honors, Honorary Society Memberships:

 Department of Veterans Affairs Special Contribution Award for Clinical Service in
 Psychiatry
                                                          February 22, 2002

 Outstanding Resident Award, Presented at the American Academy of Child and
 Adolescent Psychiatry, Miami, Florida,
                                                         October 17, 2003

 Inducted into Berkeley Preparatory School Athletic Hall of Fame, Tampa, Florida,
                                                            November 7, 2003

 Fellow, Louisiana State University Academy for the Advancement of Educational
 scholarship
                                                         October 2007 – 2016

 Best Doctors, Louisiana in the subspecialty of Child and Adolescent Psychiatry
                                                            Awarded 2007, 2008, 2009,
                                                            2010, 2011, 2012, 2013,
                                                            2014, 2015 and 2016

 Best Doctors, in Tampa Florida
                                                           2017, 2018, 2019, 2020,
                                                           2021, 2022




                                            2
Case 2:22-cv-00184-LCB-CWB Document 557-15 Filed 05/27/24 Page 90 of 109




 Awarded status as a Distinguished Fellow of the American Academy of Child and
 Adolescent Psychiatry
                                                          July 6, 2016

 Appointments:

 Associate Professor, University of South Florida Medical School, Department of
 Psychiatry.                                                September 2016 to present

    •   Supervise one afternoon weekly of outpatient Child and Adolescent Psychiatry
        Silver Center Resident Clinic with USF General Psychiatry Residents and Child
        and Adolescent Psychiatry fellows who performed assessment, consultation, and
        treatment.
    •   Supervise one morning clinic of outpatient general psychiatry at the USF OPC
        Clinic who performed assessment, consultation, and treatment.
                                                        o February 2023 to present

 Tampa General Hospital Psychiatrist on Duty                 September 2016 to present
        Manage the night, weekend and holiday clinical responsibilities of Tampa
 General Hospital including the over 1000 bed hospital and a 24-hour emergency room.
 Usually done in partnership with a psychiatric resident from the University of South
 Florida.

 Facility Psychiatrist. Tampa Residential Facility           September 2016 to present
    • Performed psychiatric evaluations and treatment in Florida’s juvenile correctional
         system. Tampa Residential Facility is the most intensive level of mental health
         and substance abuse treatment, subcontracted to Truecore Solutions.

 Facility Psychiatrist. Les Peters Academy Residential Facility
                                                            May 2017 to present
    • Performed psychiatric evaluations and treatment in Florida’s juvenile correctional
         system, subcontracted to Truecore Solutions.

 Staff Psychiatrist, Orleans Parish Justice System           March 2018 to July 2018
     • Performed telepsychiatric evaluations and treatment in Orleans Parish Prison
         correctional system, subcontracted to Correct Care Solutions.

 Facility Psychiatrist. Charles Britt Academy Residential Facility
                                                             November 2019 to July 2022
         •Performed psychiatric evaluations and treatment in Florida’s juvenile
         correctional system, subcontracted by Sequel.

 Facility Psychiatrist. Columbus Youth Academy Residential Facility
                                                             June 2020 to present
         •Performed psychiatric evaluations and treatment in Florida’s juvenile
         correctional system, subcontracted by Sequel.

                                             3
Case 2:22-cv-00184-LCB-CWB Document 557-15 Filed 05/27/24 Page 91 of 109




 Louisiana State University Health Science Center Assistant Professor of Clinical
 Psychiatry                                                 July 2005 to June 2017

 Louisiana State University Health Science Center Associate Professor of Clinical
 Psychiatry                                                July 2016 - 2017

 Mental Health Medical Director, St. Charles Community Health Center, Luling,
 Louisiana                                                   July 2005 to 2016
        • Evaluated and treated a primarily Medicaid and underserved population of
           adult, child and adolescent patients in a Federally Qualified Health Care
           Center.

 Coordinator for Child and Adolescent Integrated Mental and Behavioral Health Services,
 Louisiana Mental and Behavioral Health Capacity Project
                                                           September 2012 to July 2017
    • Performed assessment, consultation, training, prevention, and education services
        to Federally Qualified Health Centers and community clinics in Coastal
        Louisiana.
    • Evaluated and treat both on site and using remote video conferencing equipment
        (telehealth).

 Staff Psychiatrist, Back-up coverage, Louisiana Juvenile Justice System July 2016 to
 September 2022
     • Performed psychiatric evaluations and treatment in Louisiana’s juvenile
         correctional system, subcontracted to Wellpath (formerly Correct Care Solutions).
     • Back up on call coverage for on-site psychiatrists
     • As needed evaluated and treated remote video conferencing equipment
         (telehealth).

 Staff Psychiatrist, Louisiana Juvenile Justice System       July 2010 to July 2016
     • Performed psychiatric evaluations and treatment in Louisiana’s juvenile
         correctional system, subcontracted to Correct Care Solutions.
     • Evaluated and treated both on site and using remote video conferencing
         equipment (telehealth).

 Staff Psychiatrist on Duty                                  October 2011 to July 2016
 Children Hospital, Calhoun Campus. New Orleans, Louisiana
     • Facilitated development of protocols and supervision regarding the training of
         Medical Students, General Psychiatry Residents and Child and Adolescent
         Psychiatric Fellows who utilize the Calhoun unit as primary training site for Child
         Psychiatry.
     • Manage night and weekend clinical responsibilities for Children’s Hospital
         emergency room and Inpatient Psychiatric Unit, including individually assessing
         all inpatients each weekend.


                                              4
Case 2:22-cv-00184-LCB-CWB Document 557-15 Filed 05/27/24 Page 92 of 109




 Staff Psychiatrist, Louisiana State University Juvenile Justice Program
                                                               July 2005 to August 2010
     • Performed psychiatric evaluations and treatment in Louisiana’s juvenile
         correctional system at Bridge City Center for Youth and Jetson Center for Youth.
     • Evaluated and treated both on site and using remote video conferencing
         equipment (telehealth).

 Staff Psychiatrist, Florida Parish Juvenile Detention Center,
                                                           July 2007 to August 2010
    •   Performed psychiatric evaluations and treatment using remote video conferencing
        equipment (telehealth).

 Medical Officer on Duty                                      July 2002 to July 2005
 New Orleans Adolescent Hospital. New Orleans, Louisiana
 •      Managed clinical responsibilities of Crisis Intervention Services, a 24-hour
 emergency mental health response team serving families, children and adolescents from
 the Southeast Louisiana region.
 •      Managed two psychiatric inpatient units including a twenty bed adolescent and
 ten bed children’s unit after hours on call.
 •      On call physician for Crisis Respite, a short term residential facility for children
 and adolescents located on hospital grounds.

 Psychiatrist on Duty                                       September 2003 to July 2005
 New Orleans Veterans Administration Medical Center, New Orleans, Louisiana
    • Managed clinical psychiatric responsibilities of a 450 bed hospital
    • Managed clinical psychiatric responsibilities of a 27 bed inpatient psychiatric unit
    • Managed clinical psychiatric responsibilities of 24-hour emergency room

 Psychiatrist on Duty                                        September 2001 to June 2002
 New Jersey Medical Center Veterans Administration
    • East Orange Medical Center, East Orange, NJ
 Managed clinical psychiatric responsibilities of 24 hour emergency room along with a
 295 bed hospital, 30 Nursing Home and 30 Domiciliary beds.
    • Lyons Hospital, Lyons, NJ
 Managed clinical psychiatric responsibilities of 356 bed hospital.

 Teaching, Lecture

 Undergraduate Medical Student

 BMS6920.002, BMS6920.001 University of South Florida: Created five session elective:
 “Mind Body Medicine” Developed as part of University of South Florida medical school
 elective curriculum from 2017-2022. Offered for up to 12 students as a credited elective
 including study guide, organizing readings, and experiential class learning.
                                                             2017 to 2022


                                              5
Case 2:22-cv-00184-LCB-CWB Document 557-15 Filed 05/27/24 Page 93 of 109




 At Louisiana State University Health Science Center New Orleans:

 4 one-hour lectures instructing all Medical Students (MS2) in Child and Adolescent
 mental health during Psychiatry Basic Science block
                                                      February 2004 to February 2016

 LSU Physical therapy
 Annual 2 two-hour lectures on a range of mental health topics annually
                                                            2012 to 2016

 LSU Public Health
 Annual 2 hour lecture on psychopharmacology to incoming Masters Level students in
 Public Health
                                                         2012 to 2016

 Graduate Medical Teaching

 MEL 8602 C65 M: Child and Adolescent Psychiatry

 Child and Adolescent Psychiatry Resident Teaching:

        Arranged and co-instructed Forensics Lecture Series, bi-annually 10 lecture hours
 and 4 hours of individual lectures.
                                                           2016 to present.

        Teach various topics within residency training. 1 lecture per year.

                                                              2016 to present.

 University of South Florida General Psychiatry Residency:

 Co-Produced elective track for 2 residents per year within University of South Florida
 Psychiatry Residency. Supervision of Integrative Psychiatry residents within the
 University of South Florida’s Integrative Psychiatry Track, biweekly sessions utilizing
 curriculum from the Andrew Weil Center for Integrative Medicine.
                                                             July 2020- present

 Forensic Psychiatry Resident Teaching:

 Teach child and corrections related forensic topics within residency training. 4 lectures
 per year.
                                                              2018 to present.

 LSUHSC New Orleans, General Psychiatry Resident Teaching




                                              6
Case 2:22-cv-00184-LCB-CWB Document 557-15 Filed 05/27/24 Page 94 of 109




    •   Created and taught one hour weekly (44 weeks per year) Cognitive Behavioral
        Therapy practicum for PGY 3 residents
                                                          2007 to 2016
    •   One hour lecture on evolution and mood disorder each year for PGY3 residents
                                                          2010 to 2016

 LSUHSC New Orleans Child and Adolescent Psychiatry Resident Teaching

    •   One-hour didactic lectures on psychopharmacology for 8 weeks and cognitive
        behavior therapy for 4 weeks bi-annually
                                                            2008-2016
    •   Organized and taught majority of the year-long bi-weekly one hour didactic
        program entitled Special Topics including a wide range of topics including
        development, forensic psychiatry, evolution, anthropology, nutrition, effects of
        technology, electronic media, sleep, exercise and physical activity, wellness and
        systems of care.
                                                            2008 to 2016


 LSU- Kenner Family Practice Residency:
 Once yearly didactic lectures for 1 to 2 hours for Kenner Family Practice Residents
                                                             2009 to 2016

 Created one session Mini-Course: “Optimizing Neurocognition through Nutrition.”
 Developed and co-facilitated a module as part of Goldring Center for Culinary Medicine
 curriculum for medical students and other trainees with Annie Yeh, MD). Offered as a 1
 credit elective for Tulane medical students including study guide, organizing readings,
 online webinar to be viewed prior to class, case studies during class and test.
                                                              2014

 At Louisiana State University Health Science Center New Orleans: Core Clinical
 Psychiatry Rotation Lecture, 1 hour lecture presented to MS3 students every six weeks to
 3rd year medical students covering Child Psychiatry Basics.
                                                             October 2003 to June 2005

 At University of Medicine and Dentistry- New Jersey Medical School, Department of
 Psychiatry
 •       Lecture: “The Media and Psychiatry” for General Psychiatry Residents, created as
 part of the Culture and Psychiatry Seminar
                                                           August 2001 and 2002

 Teaching, Supervisory

 At University of South Florida, Tampa Florida:

 Medical Student supervision

                                             7
Case 2:22-cv-00184-LCB-CWB Document 557-15 Filed 05/27/24 Page 95 of 109




 University of South Florida -                              2017 to present
 MEL 8109 L69 M
 BCC 7154 002 M Psychiatry / Neurology Clerkship. Medical Students rotation through
 clinic one afternoon weekly of outpatient Child and Adolescent Psychiatry Silver Center
 Resident Clinic

 Psychiatry Elective, 2 to 4 week Medical Student rotation through Child and Adolescent
 Psychiatry Silver Center Resident Clinic


 Graduate Medical Education Supervision

 Child and Adolescent Psychiatry Residency

 Supervise one afternoon weekly of outpatient Child and Adolescent Psychiatry Silver
 Center Resident Clinic with USF Child and Adolescent Psychiatry residents who
 performed assessment, consultation, and treatment.
                                                          September 2016 to June 2021

 Supervise one afternoon weekly of outpatient Child and Adolescent Psychiatry
 correctional psychiatry with USF Child and Adolescent Psychiatry residents who observe
 clinical care in juvenile correctional facilities.
                                                          September 2016 to present

 General Psychiatry Residency:

 Supervise one afternoon weekly of outpatient Child and Adolescent Psychiatry Silver
 Center Resident Clinic with USF General Psychiatry Residents who performed
 assessment, consultation, and treatment.
                                                          September 2016 to present

 Forensic Psychiatry Resident Teaching

 Supervision of forensic psychiatry trainees within the University of South Florida
 forensic psychiatry training program. This includes review of resident competency
 evaluations along with co-evaluation of criminal defendants as individual cases arise.
                                                             2018 to present

 At Louisiana State University Health Science Center New Orleans

 LSU- Kenner Family Practice Residency:
   • One month, once weekly half day mental health rotation at St Charles Community
       Health Center for all Kenner Family Practice Residents
                                                          2008 to 2016


                                             8
Case 2:22-cv-00184-LCB-CWB Document 557-15 Filed 05/27/24 Page 96 of 109




 Clerkship/Residency Directorship:

 Child and Adolescent Psychiatry Fellowship Training Director, Louisiana State
 University Medical Center. Oversaw and supervised resident physician training
 Managed administrative, evaluation and scheduling issues within the training program
 Collaborated with Louisiana State University psychiatric faculty to develop policies and
 procedures at various clinical site.
                                                             July 2010 to September 2012

 Teaching Awards:

 Association for Academic Psychiatry Honorary Fellow
                                                             October 2001- October 2002

 Louisiana State University Child and Adolescent Psychiatry Department Outstanding
 Teacher Award for the 2006-2007 academic year

 Louisiana State University Child and Adolescent Psychiatry Department Outstanding
 Teacher Award for the 2015-2016 academic year

 Peer to Peer: Institutional Grand Rounds

 “The Minds, They are a Changin’ – An Overview and Update on MDMA and Psilocybin
 Grand Rounds University of South Florida Psychiatry Department, Tampa Florida
                                                          January 28 2022

 “3 Simple Rules for Overcoming Obesity” University of South Florida Endocrinology
 Department, Tampa Florida
                                                         November 9, 2021

 “A hard pill to swallow: psychotropic medications in foster care”, University of South
 Florida, Department of Public Health, Tampa Florida
                                                             November 3, 2017

 “Rules of Thumb: The importance of heuristic and cognitive biases in pediatric physical
 and mental health” Grand Rounds Children’s Hospital, New Orleans
                                                           July 30, 2014,

 Grand Rounds, Louisiana State University Department of Psychiatry, “Rules of Thumb,
 lifestyle interventions for mental health professionals.” New Orleans, Louisiana
                                                              January 23, 2014

 “Just say No, the Case against Stimulant Medication” Grand Rounds Children’s Hospital,
 New Orleans, Louisiana
                                                           May 19th, 2010


                                             9
Case 2:22-cv-00184-LCB-CWB Document 557-15 Filed 05/27/24 Page 97 of 109




 “Violence: Neurobiology, Risk Assessment and Beyond”, Grand Rounds Louisiana State
 University Department of Psychiatry, New Orleans, Louisiana
                                                          August 9, 2012

 “Is ADHD a Nutritional Disorder”, Grand Rounds Louisiana State University
 Department of Psychiatry, New Orleans, Louisiana
                                                        July 28, 2011

 “Just say No, the Case Against Stimulant Medication”, Grand Rounds Louisiana State
 University Department of Psychiatry, New Orleans, Louisiana
                                                           July 29th, 2010

 Grand Rounds Department of Psychiatry, Louisiana State University School of Medicine,
 New Orleans, Louisiana “The Application of Darwinian Principles to Child Custody
 Evaluations”, New Orleans, Louisiana
                                                         May 26th, 2005

 “Attention Deficit Hyperactivity Disorder” Grand Rounds Department of Pediatrics,
 Louisiana State University School of Medicine, New Orleans, Louisiana
                                                          May 25th, 2005

 “The Media, Our New Social World, How Should Pediatricians Respond?” Grand
 Rounds, Louisiana State University School of Medicine, Children’s Hospital, New
 Orleans, Louisiana
                                                          June 2nd, 2004

 “Attention Deficit Disorder” for Louisiana State University Health Science Center
 Juvenile Corrections Program Continuing Medical Education Presentation via
 telemedicine New Orleans, Louisiana
                                                             March 16th, 2004


 “The Media, Relationships to Children and Psychiatry”, Grand Rounds, Department of
 Psychiatry, Louisiana State University School of Medicine, New Orleans, Louisiana
                                                            June 4th, 2003

 “The Media, Relationships to Children and Psychiatry”, Grand Rounds, New Orleans
 Adolescent Hospital, New Orleans, Louisiana
                                                           March 28th 2003

 Lectures by Invitation

 “The Media, Relationships to Children and Psychiatry” Grand Rounds, University of
 West Virginia, Charleston, West Virginia, Department of Psychiatry and Behavioral
 Science
                                                          April 10th 2003

                                            10
Case 2:22-cv-00184-LCB-CWB Document 557-15 Filed 05/27/24 Page 98 of 109




 “The Media and Child and Adolescent Psychiatry –An Evolving Relationship” Chair and
 Presenter, Media Theatre, Annual Conference of the American Academy of Child and
 Adolescent Psychiatry
                                                          October 21st, 2004

 “The Media, Our New Social World, How Should Health Care Professionals Respond?”
 Continuing Medical Education Presentation Snowshoe Mountain Retreat, Snowshoe
 Mountain, West Virginia
                                                       September 19th, 2004

 “The Application of Darwinian Principles to Child Custody Evaluations” Grand Rounds
 Department of Psychiatry, University of South Florida, Tampa, Florida
                                                           October 31st, 2005

 “The Evaluation and Treatment of Traumatized Children and Adolescents with ADHD”
 Web Cast Presentation and Grand Rounds sponsored by the National Center for Child
 Traumatic Stress Network’s Rural Consortium, New Orleans, Louisiana
                                                         January 25th, 2007

 “Behavioral Disorder or Traumatized Child?” Louisiana Federation of Families for
 Children’s Mental Health, Children’s Mental Health Conference, Houma Louisiana
                                                          May 9th, 2008

 “Behavioral Disorder or Traumatized Child?” Grand Rounds Tulane University
 Department of Child Psychiatry, New Orleans, Louisiana
                                                        March 13th, 2009

 “Brother’s Little Helper: The Simpsons Satirizes Stimulant Medication as a Response to
 Childhood Behavior Problems” Media Theatre, Annual meeting of the American
 Academy of Child and Adolescent Psychiatry, New York, New York Kristopher Kaliebe
 MD, K. Dalope, MD
                                                            October 30, 2010

 “Violence Risk Assessment” Louisiana Psychiatric Medical Association Annual Meeting,
 New Orleans, LA
                                                         March 2, 2013,

 “Telepsychiatry in Juvenile Justice Settings” part of "Telepsychiatry: Challenges and
 Successes Across Settings." Clinical Perspectives, Annual meeting of the American
 Academy of Child and Adolescent Psychiatry, Orlando FL
                                              October 22, 2013

 “What are they Missing, When Electronic Media Displaces Sleep, Academics and
 Exercise” part of “Identifying and Treating Internet-Related Mental Health Problems:



                                            11
Case 2:22-cv-00184-LCB-CWB Document 557-15 Filed 05/27/24 Page 99 of 109




 An Evidence-Based Approach” Clinical Perspectives. Annual meeting of the American
 Academy of Child and Adolescent Psychiatry, Toronto, Canada
                                                         October 24, 2014

 “The Implications of the Pharmacological Treatment of Children” Michigan Drug Court
 Annual Conference, Lansing, Michigan
                                                          March 12, 2014

 “Three rules to prevent and treat ADHD symptoms” as part of the Louisiana ADHD
 Symposium, organized by the Louisiana Department of Health and Hospitals ADHD
 Task Force, Baton Rouge, Louisiana
                                                          December 9, 2014

 “Non-Pharmaceutical Interventions for ADHD”, Invited Professorship: St George’s
 University School of Medicine Complementary and Alternative Medicine Selective, St
 George’s, Grenada, West Indies
                                                         August 28 – Sept. 3rd, 2014

 “Screen Time and Childhood Behavior: Disruptive Influence or Easy Scapegoat” as part
 of “Caught in the Net, How Electronics effects Mental Illness” Chair and Presenter,
 Clinical Perspectives, Annual meeting of the American Academy of Child and
 Adolescent Psychiatry, San Diego, California
                                                            October 30, 2014

 “The Management of Childhood Obesity” and “Disordered Eating in Children and
 Adolescents” Oregon Psychiatric Medical Association Conference, Portland, Oregon
                                                          February 27 and 28, 2015

 “Rules of Thumb: 3 Simple Rules to Optimize Physical and Mental Health” National
 Alliance for the Mentally Ill Louisiana Annual Conference, New Orleans, Louisiana
                                                            April 17, 2015

 “ADHD overdiagnosis in Louisiana, a child and adolescent psychiatrist’s perspective”
 Preventing Overdiagnosis Conference, National Institutes of Health (NIH), Bethesda
 Maryland
                                                            September 2, 2015

 “An alternative to diagnosis-based practice in pediatric mental health” Preventing
 Overdiagnosis Conference: National Institutes of Health NIH Bethesda Maryland
                                                             September 2, 2015

 “Shell Shocked: Growing up in the Murder Capital of America”. Discussant for Media
 Theatre, Annual meeting of the American Academy of Child and Adolescent Psychiatry,
 Holly Peek, MD, Kristopher Kaliebe, MD San Antonio, Texas
                                                         October 29, 2015



                                            12
Case 2:22-cv-00184-LCB-CWB Document 557-15 Filed 05/27/24 Page 100 of 109




 “Screen Time and Childhood Behavior: Disruptive Influence or Easy Scapegoat” as part
 of “Caught in the Net, How Electronics effects Mental Illness” Chair and Presenter,
 Clinical Perspectives, Annual meeting of the American Academy of Child and
 Adolescent Psychiatry, San Antonio, Texas
                                                            October 31, 2015

 “What are they (we) Missing? When Electronic Media Displaces Sleep, Academics, and
 Exercise” Grand Rounds University of South Florida Psychiatry Department, Tampa
 Florida
                                                          November 12th, 2015

 ADHD overdiagnosis in Louisiana, a child and adolescent psychiatrist’s perspective,
 Louisiana Psychological Association, New Orleans, LA
                                                          May 20, 2016

 “Rules of Thumb: 3 Simple Rules to Optimize Physical and Mental Health” Crohns and
 Colitis Association of America Regional Conference, New Orleans, LA,
                                                         June 12, 2016

 “Evaluating and Assuring the Effective and Safe Use of Psychotropic Medications in
 Children” Webinar: National Council of Juvenile and Family Court Judges, with Judge
 Constance Cohen; Janie Huddleston and Dr. Joy Osofsky, Ph.D.
                                                           June 24, 2016,

 “Psychotropic Medications 101: What Judges Need to Know for Effective Decision
 Making” Florida Child Protection Summit, with Melinda Sczepanski, Orlando FL
                                                         September 9, 2016

 “Communicating With the Media and the Public as Child and Adolescent Psychiatrists
 Around Disaster and Highly Traumatic Events.” Workshop, Annual meeting of the
 American Academy of Child and Adolescent Psychiatry, Media Training Workshop,
 New York, New York
                                                         October 27, 2016

 “Evolutionary Biology is a Basic Science for Child and Adolescent Psychiatry” Special
 Interest Group, Annual meeting of the American Academy of Child and Adolescent
 Psychiatry, New York, New York
                                                           October 28, 2016

 “Is War Ever Really Over? War-Affected Youth From Home to Host Country”,
 Discussant, Clinical Perspectives. Annual meeting of the American Academy of Child
 and Adolescent Psychiatry, New York, New York
                                                           October 28, 2016




                                           13
Case 2:22-cv-00184-LCB-CWB Document 557-15 Filed 05/27/24 Page 101 of 109




 “Psychotropic Medications 101: The pertinent essentials for all involved in the child
 welfare system” Florida Child Protection Summit, with Melinda Sczepanski, Orlando,
 Florida
                                                            August 30, 2017

 “Safe Use of Psychotropic Medications in Children.” 2017 Safe Babies Court Teams
 Cross Sites Meeting, Fort Lauderdale, Florida
                                                          August 17, 2017

 “Health Promotion in Pediatric Mental Health” Discussant, Clinical Perspectives, Annual
 meeting of the American Academy of Child and Adolescent Psychiatry, Washington, DC
                                                           October 23, 2017

 “New Technologies, New Laws, New Childhood” as part of “Clinical Guidelines for
 Navigating Media Use” Clinical Perspectives, Annual meeting of the American Academy
 of Child and Adolescent Psychiatry, Washington, DC
                                                          October 24, 2017

 “Screen Time and Childhood Behavior: Disruptive Influence or Easy Scapegoat” as part
 of “Caught in the Net, How Electronics effects Mental Illness” Chair and Presenter,
 Clinical Perspectives, Annual meeting of the American Academy of Child and
 Adolescent Psychiatry, Washington, DC
                                                            October 26, 2017

 “The Business of News, the Role of Child and Adolescent Psychiatrists in the Media, and
 Risk Communication.” Member Services Forum, Annual meeting of the American
 Academy of Child and Adolescent Psychiatry: Washington, DC
                                                          October 27, 2017

 “Caught in the net: a child psychiatrist’s guide for navigating the internet age.”,
 Workshop, International Association for Child and Adolescent Psychiatry and Allied
 Professions, Prague, Czechoslovakia
                                                               July 27, 2018

 Chair, Clinical Perspectives, Annual meeting of the American Academy of Child and
 Adolescent Psychiatry, “Caught in the Net: How Digital Media Shapes Mental Illnesses
 in Youth and How Psychiatrists Should Respond.” Seattle, Washington
                                                           October 24, 2018

 “Self-Care in the Child Welfare System” YMCA/Safe Children Coalition Conference,
 with Catarlyn Glenn, Sarasota Florida
                                                        April 18, 2019

 “Psychotropic Medications 101: The pertinent essentials for all involved in the child
 welfare system” Florida Child Protection Summit, with Catarlyn Glenn, Orlando Florida
                                                            December 17, 2019

                                            14
Case 2:22-cv-00184-LCB-CWB Document 557-15 Filed 05/27/24 Page 102 of 109




 “Caught in the Net: How Digital Media Interacts with Mental Illness in Children and
 Adolescents”, Annual Conference of the Florida Psychiatric Society, Tampa, Florida
                                                           September 21, 2019

 “Effective Strategies for Higher Education and Beyond” Clinical Perspectives, Annual
 meeting of the American Academy of Child and Adolescent Psychiatry, Mastering
 Information Flow for Transitional-Age Youth (TAY): as part of “Promoting Digital
 Citizenship in Transitional-Aged Youth (TAY) and College Students”, Chicago, IL
                                                           October 19, 2019

 “Caught in the Net: How Digital Media Interacts with Mental Illness”, virtually presented
 at the Andrew Weil Center for Integrative Medicine, Tucson, Arizona
                                                           April 1, 2020

 “A deeper dive into child and adolescent psychopharmacology for families and
 professionals involved in the child welfare system” Florida Child Protection Summit,
 with Catarlyn Glenn. Orlando, FL
                                                             September 3, 2020

 “Screenagers: Next Chapter – How Online Behaviors Affect Depression and Anxiety
 Disorders in Adolescents”, Media Theater (virtual) Annual meeting of the American
 Academy of Child and Adolescent Psychiatry
                                                           October 19, 2020.

 “Helping Child Psychiatrists Navigate the Internet Age”, “Career Focus: Setup Your
 Own Telepsychiatry Practice”, “COVID-19 Related Psychiatric Issues”
 Oasis Child and Adolescent Psychiatry Conference, Charleston, SC
                                                            May 17, 2021

 “Conversation about health information, COVID, news, and related topics”, discussant
 and breakout group leader, Digital Media and Mental Health Research Virtual Retreat
                                                           May 24th 2021

 “The Social Dilemma: Helping Families Navigate the Pull, Pulse, and Power of Social
 Media”, Media Theater, Annual meeting of the American Academy of Child and
 Adolescent Psychiatry, Virtual
                                                          October 29, 2021

 “Appealing Applications for Adolescent Mental Health: Social Media's Transformation
 During the COVID-19 Pandemic”, Discussant, Clinical Perspective, Annual meeting of
 the American Academy of Child and Adolescent Psychiatry, Virtual
                                                          October 25, 2021




                                            15
Case 2:22-cv-00184-LCB-CWB Document 557-15 Filed 05/27/24 Page 103 of 109




 “Angry Young Men, Common Threads in Different Types of Extremist Groups” as part
 of Political Extremism & Hate Group Recruitment of Adolescents”, Clinical Perspective,
 Annual meeting of the American Academy of Child and Adolescent Psychiatry, Virtual
                                                         October 26, 2021

 “Angry Young Men: Boys and Adolescent Males with Disruptive and Aggressive
 Behavior”, “Nutritional Child Psychiatry” Oasis Child and Adolescent Psychiatry
 Conference, Charleston, SC
                                                           May 1st / 2nd, 2022

 “Sexts, Lies & Videogames: Adolescent Boys, the Internet, & Mental Health” Chair and
 presenter on violence and young men: Clinical Perspective, Annual Meeting of the
 American Academy of Psychiatry Annual Meeting, New Orleans, LA
                                                            May 25, 2022

 “Assessing and Addressing Digital Distraction, Misinformation, and Disarray”, part of
 the Social Media Institute, Annual Meeting of the American Academy of Psychiatry
 Annual Meeting, Toronto, CA October 19, 2022

 Licensure:

 Florida Medical License, expires January 31st, 2024

 Federal DEA Controlled Substances License             12/31/2023

 Certification: ECFMG Certificate 0-573-532-9

 Forensic Training:

 Florida Forensic Examiner Training completed through the University of South Florida
 Department of Mental Health Law and Policy
                                                          August 15-17, 2019

 Certifications in Psychotherapy:

 Basic Practicum in Rational Emotive Behavior Therapy completed at the Albert Ellis
 Institute in New York, NY
                                                         July 13, 2003
 Advanced Practicum in Rational Emotive Behavior Therapy completed at the Albert Ellis
 Institute in New York, NY
                                                         July 20, 2003

 Associate Fellowship in Rational Emotive Behavior Therapy completed at the Albert
 Ellis Institute in New York, NY,
                                                         July 15, 2005



                                           16
Case 2:22-cv-00184-LCB-CWB Document 557-15 Filed 05/27/24 Page 104 of 109




 Accelerated Resolution Therapy, Basic Training
                                                                 April 1-3, 2017

 Accelerated Resolution Therapy, Enhanced Training
                                                                 Sept 31, October 1, 2018

 Accelerated Resolution Therapy, Advanced Training
                                                                 October 2,3, 2018

 American Association of Medical Colleges Medical Education Research Certificate
                                                         October 13th, 2010


 Scholarly Activity

 Funded block grants

 Co-investigator on the Mental and Behavioral Health Capacity Project from September
 2012 to June 2017

 Unfunded research

 Supervisor mentoring Medical Students:

 University of South Florida IRB: Faculty Advisor Co Investigator May 2021

         What is the impact of coronavirus confinement on Japanese college students’ mental
         health? STUDY002335

 University of South Florida IRB: Faculty Advisor Co Investigator May 2021
        Changes in college aged students’ metabolic health due to Covid-19 confinement
         STUDY002341


 PI as student supervisor, STUDY004118, IRB approved as Exempt Status, Palliative Care
 Patients’ Attitudes & Openness to Psilocybin assisted Psychotherapy for Treatment of Existential
 Distress, Julia Wang


 Journal Publications:

 Peer Reviewed

 Kaliebe, Kristopher and Adrian Sondheimer. "The media: Relationships to psychiatry
 and children." Academic Psychiatry 26.3 (2002): 205-215.

 Kaliebe, Kristopher "Rules of thumb: three simple ideas for overcoming the complex
 problem of childhood obesity." Journal of the American Academy of Child & Adolescent
 Psychiatry 53.4 (2014): 385-387.

                                                17
Case 2:22-cv-00184-LCB-CWB Document 557-15 Filed 05/27/24 Page 105 of 109




 Kaliebe, Kristopher. “Dr Kaliebe Replies”, Journal of the American Academy of Child
 & Adolescent Psychiatry, (2014) 53:10 1134.

 Kaliebe, Kristopher "The Future of Psychiatric Collaboration in Federally Qualified
 Health Centers." Psychiatric Services (2016): appi-ps.

 Kaliebe, Kristopher, and Josh Sanderson. "A Proposal for Postmodern Stress Disorder."
 The American journal of medicine 129.7 (2016): e79.

 Osofsky, Howard J., Anthony Speier, Tonya Cross Hansel, John H. Wells II, Kristopher
 E. Kaliebe, and Nicole J. Savage. "Collaborative Health Care and Emerging Trends in a
 Community-Based Psychiatry Residency Model." Academic Psychiatry (2016): 1-8.

 Yeh, Y. Y. and K. Kaliebe. "Impact of Nutrition on Neurocognition." Southern medical
 journal 109.8 (2016): 454.

 K. Kaliebe Expanding Our Reach: Integrating Child and Adolescent Psychiatry Into
 Primary Care at Federally Qualified Health Centers. J Am Acad Child Adolesc
 Psychiatry. 56.11 (2017)

 Kass, R. and Kaliebe, K., Stress and Inflammation: New Perspectives on Major
 Depressive Disorder. JAACAP Connect, p.22. Winter 2020

 Tamburello, A., Penn, J., Negron-Muñoz, R., & Kaliebe, K. (2023). Prescribing
 Psychotropic Medications for Justice-Involved Juveniles. Journal of Correctional Health
 Care.

 Case Reports, Technical Notes, Letters

 Books, Textbook Chapters:

 Weigle, P., Kaliebe, K., Dalope, K., Asamoah, T., & Shafi, R. M. A. (2021). 18 Digital
 Media Use in Transitional-Age Youth: Challenges and Opportunities. Transition-Age
 Youth Mental Health Care: Bridging the Gap Between Pediatric and Adult Psychiatric
 Care, 357.


 Invited Publications

 “Telepsychiatry in Juvenile Justice Settings”, K Kaliebe, J Heneghan, T Kim, Child and
 Adolescent Clinics of North America, 20 (2011) 113-123

 American Academy of Child and Adolescent Psychiatry (AACAP) Committee on
 Telepsychiatry and AACAP Committee on Quality Issues. Clinical Update:
 Telepsychiatry With Children and Adolescents. J Am Acad Child Adolesc Psychiatry.
 2017 Oct; 56(10):875-893. Epub 2017 Jul 25. PMID: 28942810.

                                            18
Case 2:22-cv-00184-LCB-CWB Document 557-15 Filed 05/27/24 Page 106 of 109




 Kaliebe, Kristopher and Paul Weigle. "Child Psychiatry in the Age of the Internet."
 (2017). Child and Adolescent Psychiatric Clinics of North America, April 2018Volume
 27, Issue 2, Pages xiii–xv

 Gerwin, Roslyn L., Kristopher Kaliebe, and Monica Daigle. "The Interplay Between
 Digital Media Use and Development." Child and Adolescent Psychiatric Clinics 27.2
 (2018): 345-355.


 Other Research and Creative Achievements:

 Poster Presentations:

 “Collaborative Child and Adolescent Psychiatry within Primary Care Clinics in Coastal
 Louisiana” Poster, Annual meeting of the American Academy of Child and Adolescent
 Psychiatry, Kristopher Kaliebe MD, Joy Osofsky, PhD; Howard Osofsky, MD, PhD;
 Lucy King, BA; Tonya Hansel, PhD, San Antonio, TX
                                                           October 29, 2015

 “Benefits of Integrating Young Child Psychiatric Services Into Primary Care Clinics in
 Underserved Communities” Poster, Annual meeting of the American Academy of Child
 and Adolescent Psychiatry, New York, NY Joy Osofsky, PhD; Howard Osofsky, MD,
 PhD; Lucy King, BA; Tonya Hansel, PhD, Kristopher Kaliebe MD
                                                            October 28, 2016

  “Integrating child and adolescent psychiatry into community based primary care
 networks”, Poster, International Association for Child and Adolescent Psychiatry and
 Allied Professions, Prague, Czechoslovakia Kristopher Kaliebe MD
                                                             July 25, 2018

 “ The Prevalence of the Adverse Childhood Experiences (ACE) in Florida Youth
 Referred to the Department of Juvenile Justice” Poster, Annual meeting of the American
 Academy of Psychiatry and the Law, Greg Iannuzzi, MD, Mark Greenwald, PhD,
 Kristopher Kaliebe MD
                                                           October 25, 2018

 Other articles:

 “LSU’s Breakfast Club emphasizes education and recruitment into Child and Adolescent
 Psychiatry”, American Academy of Child and Adolescent Psychiatry News,
                                                   January 2004
 "Trix are for Kids!", American Academy of Child and Adolescent Psychiatry News,
                                                   May, 2013
 Expanded Psychiatric Care Can Transform Federally Qualified Health Centers, American
 Psychiatric Association News,
 ......                                            Published online June 17, 2016

                                           19
Case 2:22-cv-00184-LCB-CWB Document 557-15 Filed 05/27/24 Page 107 of 109




 News Stories on Suicide, Fictional Content may Increase Risk for Contagion, Hansa
 Bhargava and Kristopher Kaliebe, American Academy of Pediatrics News, Mastering
 the Media Column,
                                                    Published online July 10, 2019


 Webinars and creation of enduring materials:

 Rules for Optimal Health, Webinar, University of South Florida Quality Parenting
 Initiative, Florida's Center for Child Welfare Information and Training Resources for
 Child Welfare Professionals, released
 ......                                               December 11, 2017

 Florida's Center for Child Welfare Information and Training Resources, webinars series
 on pediatric mental health for child welfare professionals and caregivers, Kristopher
 Kaliebe with Catarolyn Johnson;
 ......                                                June 1, 8, 15, 22 and 29, 2020

 “Don’t just sit there- Adapt and Optimize in a post Covid world” University of South
 Florida Global Health Conversation Series, presented virtually
                                                            September 22, 2020

 Service

 Membership in Professional Organizations:

 Member, American Academy of Child and Adolescent Psychiatry (AACAP),
                                               2000 to present

 AACAP Media Committee member
                                                     2003 –2021

 C0-Chair, AACAP Media Committee
                                                     2013-2021

 Media Committee Liaison to the Complementary and Integrative Medicine Committee of
 the AACAP
                                                2012 to 2019

 Liaison to the Committee on Communications and Media of the American Academy of
 Pediatrics, from American Academy of Child and Adolescent Psychiatry (AACAP)
                                                 2015 to 2022

 Member Association for Behavioral and Cognitive Therapies
                                                  2004 – 2016



                                             20
Case 2:22-cv-00184-LCB-CWB Document 557-15 Filed 05/27/24 Page 108 of 109




 Member American Academy of Psychiatry and the Law
                                                2004 to present

 Member Zero to Three
                                                      2017 to 2021

 Member Louisiana Council for Child Psychiatry (LCCP)
                                                  2003 to 2016

 Louisiana Council for Child Psychiatry (LCCP)

 Secretary-Treasurer
                                                      March 2010-March 2014

 President
                                                      March 2014- June 2016

 Member, American Psychiatric Association
                                                      2000 - 2012 , 2021 to present

 LSUHSC Psychiatry Interest Group Faculty advisor
                                                      2008 to 2012


 University of South Florida Medical School Integrative Medicine Student Interest Group
 faculty advisor
                                                    January 2020 to present

 University of South Florida Medical School Mindfulness and Meditation in Medicine
 Group faculty advisor
                                                   January 2022 to present

 University of South Florida Interdisciplinary (university wide) Psychedelics Interest
 Group faculty advisor
                                                      March 2022 to March 2023

 Editorial Posts and Activities:
        Journal editorships, Reviewer

 LSUHSC Institutional Review Board alternate reviewer 2008-2012

 Safety Committee Member, Accelerated Resolution Therapy for Treatment of
 Complicated Grief in Senior Adults, University of South Florida
                                                                 2017-19




                                             21
Case 2:22-cv-00184-LCB-CWB Document 557-15 Filed 05/27/24 Page 109 of 109




 Expert reviewer for Adolescent Psychiatry Thematic Special Issue: Coming of Age
 Online: Challenges of Treating the Internet Generation: (2), 4, 2014

 Expert reviewer for Academic Psychiatry Media Column             June 2018

 Expert Reviewer for Pediatrics                                   January 2021

 Expert reviewer for Academic Psychiatry Media Column             March 2022

 Expert Reviewer for Harvard Review of Psychiatry                 May 2021

 Co-editor: Kaliebe, Kristopher, and Paul Weigle. Youth Internet Habits and Mental
 Health, An Issue of Child and Adolescent Psychiatric Clinics of North America, E-Book.
 Vol. 27. No. 2. Elsevier Health Sciences.                         2018

 Member, Planning Committee for the Digital Media and Mental Health Research Retreat
 hosted by the nonprofit Children and Screens.
                                                               May 24th, 25th 2021.



 Revised: March 2023




                                           22
